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United States Bankruptcy Court
District of Nevada

ln rc Freedom Munitions, LLC Cnsc No. 18-50615-btb
Debtor(s) Charplcr 11

AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
20 Largest Unsecured Claims

Form 206: Summary of Assets and Liabi|ities

Schedule AIB: Property

Schedule D: Creditors Who have Claims Secured By Property

Schedule EIF: Creditors Who I-|ave Unsecured Claims

Schedule G: Executory Contracts and Unexpired Leases

Schedule H: Codebtors

Form 207: Statement of Financial Affairs

Veriflcation of Creditor Matrix (Supp|ementa|)

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule ofBankruptcy Procedure 1009(21), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Dare; July 27, 2018 g

Robert E. Opera

Attorney for Debtor(s)

Winthrop Couchot Golubow Ho|lander, LLP
1301 Dove Street, Suite 500

Newport Beach, CA 92660

949-720-4130 Fax:949-720-4111
ropera@wcghlaw.com

Software Cnpyn`ghl (c) 1996-2018 3651 Case. LLC - www.bestcase.com Best Case Bankn.lptcy

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GENERAL NOTES TO SCHEDULES OF ASSETS AND
LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

The Debtor submits its Schedules of Assets and Liabilities (the “Schedules”) and
Statement of Financial Affairs (the “Staternent”) pursuant to Section 521 of the Bankruptcy Code
and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

The Schedules and the Statement have been prepared by the Debtor’s current
management with the assistance of certain of its professionals The Debtor has endeavored to
ensure that the Schedules and Statement are accurate and complete. The Debtor notes, however,
the following matters with respect to the preparation of the Schedules and the Statement.

1. The Debtor’s proposed Chief Restructuring Officer (“CRO”) was appointed on or
about June 7, 2018. Accordingly, the CRO has limited “institutional knowledge”
regarding the Debtor’s financial affairs.

2. The Debtor has prepared the Schedules based largely upon its review of financial
records in the Debtor’s possession that may have been prepared by former
employees of the Debtor. Such financial records generally are not audited.

While the Schedules and the Statement are materially accurate to the best of the Debtor’s
belief, under the circumstances of this case, the Debtor cannot warrant the accuracy and
completeness of the Schedules and the Statement. The Debtor reserves the right to amend the
Schedules and the Statement as appropriate based upon a subsequent receipt of information that
may result in a change in the disclosures contained in the Schedules and the Statement.

Unless otherwise stated, the asset and liability data contained in the Schedules and the
Statement are reflected as of June 8, 2018, the date the petition was filed in this Chapter 11 case
(the “Petition Date”). Valuation methodologies are as indicated in the Schedules (g&, orderly
liquidation value or book value). Actual fair market values may differ materially from the Values
indicated

It would be prohibitively expensive, unduly burdensome and extremely time-consuming
to obtain current market valuations of the Debtor’s assets. Moreover, the value of certain assets,
such as potential litigation claims, is impossible to determine at this time. Accordingly, in
certain instances, values of assets are stated as “unknown” or “uncertain.” The reader therefore
should not place undue reliance upon the values listed for the Debtor’s assets in the Schedules.

Any failure by the Debtor to designate a claim listed on the Debtor’s Schedules as
“disputed,” “contingen ” or “unliquidated” does not constitute an admission by the Debtor that
such amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to
subsequently designate any claim as “disputed,” “contingent” or “unliquidated.” The Debtor
further reserves the rights to dispute, object to, assert counterclaims, rights of setoff, rights of
recoupment, or defenses to, subordinate, avoid, and/or obtain reclassification of any claim or any
interest in property securing such claim.

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The dollar amounts of claims listed may be exclusive of contingent and unliquidated
amounts, such as accrued interest or attorneys’ fees and costs.

The claims of creditors for, among other things, merchandise, goods, services, or taxes
may be listed as the lower of the amounts invoiced by such creditor or the amounts entered on
the Debtor’s books and records and may not reflect credits or allowances due from such creditors
to the Debtor. The Debtor reserves all of its rights With respect to any such credits and
allowances

The identity of some of the holders of claims might have changed over time due to
trading and/or transfer of certain of these claims. lt is the Debtor’s belief that, as of the Petition
Date, the claims against the Debtor Were held by the entities identified in the Schedules.

Each Schedule and the Statement is subject to ibrther amendment by the Debtor.

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SCHEDULE A/B DISCLAIMER

The Debtor has obtained no current appraisals of the value of these assets. The actual
value of the assets listed may differ significantly from the amounts reflected in Schedule A/B.

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GENERAL NOTES REGARDING SCHEDULE D

The Debtor reserves the right to dispute or challenge the validity, perfection, or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a secured
claimant listed on Schedule D. Moreover, although the Debtor has scheduled secured claims on
its Schedule D, the Debtor reserves all rights to dispute or challenge any secured nature of any
claimant’s claim or the characterization of the structure of any such transaction, or any document
or instruments related to such claimant’s claim.

Any failure by the Debtor to designate a claim on Schedule D as “contingent,”
“unliquidated” or “disputed” does not constitute an admission by the Debtor that such claim is
not contingent, unliquidated, or disputed, and the Debtor reserves the right to dispute, or to assert
offsets or defenses to, any claims reflected on Schedule D as to amount, liability, classification or
otherwise and to subsequently designate any such claim as disputed, contingent or unliquidated

Schedule D is subject to further amendment by the Debtor. The description provided for a
claim in Schedule D is intended only to be a summary of such claim. Reference to the applicable
credit agreement and related documents is necessary for a complete description of the collateral
and the nature, extent, and priority of any liens. Nothing herein shall be deemed a modification
or interpretation of the terms of such agreements

The Debtor reserves the right to assert that any claim listed on Schedule D With respect to
equipment, an interest in which has been acquired by the Debtor, does not reflect a secured
claim, but instead reflects a lease subject to the provisions of Section 365 of the Bankruptcy
Code.

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GENERAL NOTES REGARDING SCHEDULE E/F

The Debtor’s characterization of the claims listed in Schedule E as priority claims is
preliminary in nature and the Debtor reserves its rights to amend Schedule E, and/or dispute and
challenge whether, and to what extent, such claims are entitled to priority.

The amounts stated in Schedule F for the claims of any parties to contracts with the
Debtor do not include any claims for breach of contract or other damages; the stated amount is
the amount of the account payable owing to the contract party as of the Petition Date in the
Debtor’s books and records.

The claims listed on Schedule F are subject to further review, reconciliation and
amendment by the Debtor.

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GENERAL NOTES REGARDING SCHEDULE G

While effort has been made to ensure the accuracy of Schedule G (Schedule of Executory
Contracts and Unexpired Leases), the Debtor does not make, and specifically disclaims, any
representation or warranty as to the validity or enforceability of contracts, agreements or
documents listed in Schedule G. The Debtor hereby reserves the right to dispute the validity,
status, characterization or enforceability of contracts, agreements and leases set forth in Schedule
G and to amend or supplement Schedule G. By listing a contract or lease on Schedule G, the
Debtor is not admitting that such contract or lease is an executory contract or lease pursuant to
Section 365 of the Bankruptcy Code and reserves the right to dispute any such classification

The Debtor reserves the right to assert that any lease listed in Schedule G is not a true
lease but constitutes a secured transaction

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GENERAL NOTES REGARDING SCHEDULE H

The Debtor lists in Schedule H (Schedule of Co-debtors) any claimant that asserts that the
Debtor and other entities are co-obligors to such claimant The Debtor reserves the right to
dispute that the Debtor and the other entities listed in Schedule H are co-debtors to the claimants
listed therein Without limiting the generality of the foregoing, the Debtor specifically denies
that the United States Department of Treasury, Alcohol and Tobacco Tax and Trade Bureau has
any allowed claim against the Debtor or any Debtor listed in Schedule H.

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NOTES REGARDING CONSOLIDATION OF OPERATIONS

While the eight related Debtors are separate legal entities, the Debtors, other than Debtor
Components Exchange, LLC (collectively, the “HMT Debtors”), generally have operated on a
consolidated basis The Debtors, together with two non-debtors, Twin River Contract Loading,
lnc. and Big Canyon Environmental, LLC, have prepared financial statements on a consolidated
basis The HMT Debtors have used one cash management system to administer all receipts
obtained by the HMT Debtors and all disbursement made by the HMT Debtors in connection
with the operation of their businesses All cash collected from revenues generated by the HMT
Debtors is earned by Debtor Howell Munitions & Technology, lnc. (“HMT”) and deposited into
one checking account held by HMT. Payroll and all other expenses incurred by the HMT
Debtors are paid from this one checking account HMT pays all expenses because HMT is the
party that contracts with, and is indebted to, third parties for the operation of the Debtors’
businesses

Based upon the consolidated nature of the HMT Debtors’ pre-petition operations,
Schedules E and F for the HMT Debtors generally list the same obligations Notwithstanding
that fact, each creditor listed in Schedules E and F for the HMT Debtors is entitled to receive in
the HMT cases distributions in an aggregate amount not to exceed the total amount of the
creditor’s allowed claim.

Components Exchange’s operations largely have been maintained separately from the
HMT Debtors Accordingly, Schedules E and F for Components Exchange differ from
Schedules E and F of the HMT Debtors

The Debtor reserves the right to amend the Schedules, including Schedules E and F, as
circumstances warrant.

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- Debtor name freedom Muniti_o_rie_,_£i_€

illn|led States Bankruptcy Court for lhe: DISTR|CT OF NEVADA
! .

Case number (ll known) 15-5|]515-[,{};, 1

n Cher.k if this ls an

l
l
i . _ amended E|ing

Ofl`lcial Form 202
Declaration Under Pena|ty of Per_iury for Non-lndividual Debtors wis

nn individual who ls authorlzed to act on behalf of a non-|ndividual debtor, such as a corporation or partnershlp, must slgn and euhm|t th|s
form for the schedules of assets and |la bl|ltlee, any other document that requires a declaration that is not lnc|udad In the document, and any
amendments of those documents Th|s form must state the individua|'S position or relationship to the debtor, the identity of the document,
and the da!e. Bankruptcy Rules 1000 and 9011.

WARNENG - Bankruptcy ha ud ls a ser|ous crlma. Maklng a false statementl concealing property, or obtainan money or property by fraud in

connectlon with a bankruptcy case can result in lines up to 5500,000 or imprisonment for up to 20 years, or both. 13 U.S.C. §§ 152, 1341.
1619, and 3571.

- Dec|arat|on and signature

l am the president another officer1 or an authorized agent ofthe corporation; a member or an authorized agent cl the pannership; or another
|ndlviduai serving as a representative ofthe debtor in this caso.

| have examined the lntormation in the documents checked below and l have a reasonable belief that the iniormation ls true and ccrrei:t;

Schedule A/El.‘ Assets-Real end Personel Pro,oen'y {Olticlal Form 206NB)
Schedule D: Credi.'ors Who Heve Cleims Secuned by Propen‘y (Oincia| Form 2060)
Schedule E/F: Crodr'tors Who Have Unsecured Clairns (Of‘l’:clai Form ZDBEIF)
Schedule G: Executory Contracts and Unexpired Leasas [Oflicial Form ZUSG)
Schedule H: Codehl’ors (Oft‘icia| Form 205H)

Summery ofAssels and Llebiiltles for Non-lndivlduals (Oltlclal Form ZDESum]

Amended Schedule 74 __ _ __
Chapter 11 or Cho,ol‘er§ C.`a'sos.' l.r'sl of Credr'tors Who Havo the 20 Lai'EeSl Unsec:urad C!a:'ms and Ara Not insiders (Olnc¥al Form 204)

Other document that requires a declaration

[:il|]llllll

l declare under penalty of perjuryt at the foregoing is true and correc .

Executeu on __ _7/25_// xii

J. Mlchael issa
Printed name

    

§n behalf ci debtor

Prop"osed Chiaf Res__t_rpcturing Off‘n:er
Position or relationship to debtor

Gf'l'lclal Form 202 Doc|arat|on Under Pona|ty of Per]ury for Non-lndivlduai Debtors

Snllwnm Copnlqht{c) 1996»2018 Ba:t Cnsu, LLC -nww boatman cum Bost Cnnn Bonlvuptcv

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Fil| in this information to identi
Debior name |Freedom Munitions, LLC

the case:

 

United States Bankruptcy Court for the:

Case number (if known):

DiSTR|CT CF NEVADA

 

1 8-50615-btb

 

 

Ochia| Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims and

Are Not insiders

7!22/18 10:40PM

l Check if this is an

amended tillng

12/15

A list of creditors holding the 20 largest unsecured claims must be filed |n a Chapter 11 or Chapter 9 case, include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101 (31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

“Name of creditor and `
complete mailing address,
including zip code

Name, telephone number
and emai| address of

’ creditor contact

Nab.tre of claim
(for example, trade
debts, bank loans,

l professional services,

and government
oontra¢:ts) '

indicate if claim
le contingent,
unliquidated, or
disputed

Amount of claim

if the claim is fully unsecured. fill in only unsecured claim amount if
claim is partially securod. fill ln total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Totel claiml if
partially secured

Deductlon forvalue
of collateral or setoff

Unsecured claim

 

P Kay Metal, lnc
Lan'y Kay

2448 E. 25th Street
Los Ange|es, CA
90058

Disputed
Sub]ect to
Setoff

$3,653,103.80

 

Midwest Brass, LLC
9254 US-31
West Olive, M| 49460

Disputed

$553,667.00

 

Crow Shooting
SHPP|y

200 S. Front St.
Montezuma, iA
80171

Disputed

$473,476.29

 

Leader Tooi Co inc
brian Gunn

P0 Box 66

Harbor Beach, Ml
48441

Disputed

$212,684.90

 

St. Marks Powder
Jodi Mc|ver

PO Box 222

Saint Marks, FL
32327

Disputed

 

$1 91 ,591.20

 

Luvata Appleton,
LLC

PO Box 200498
Pittsburgh, PA
15251

 

Disputed

$148,247.28

 

Bitterroot Security &
lnv. LL

Ten'y Roberls

410 Sth Street
Clarkston, WA
99403

 

 

 

Disputed

 

 

 

$118,000.00

 

Otiicial form 204

Chapter 11 or Chapter 9 Cases: List of Crediwrs Who Heve the 20 Largest Unsecured claims

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page 1

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Debtor
Name

Freedom Munitions, LLC

Case number (if known)

1 8-50815~btb

7.'22/15 10:4DPM

 

Neme of ore¢!ltor.and
complete mallan addreee,
. lnclud|ngzlp ooc_le -

Name, telephone number
and small address of v '
creditor contact

Nalure_ofclalm v m
(for example, trade 1
debts, bank loane.

professional services, 1

' _ lndlcatelfclalm

le oontlngant.
unllquldated. or
dlsputed

Amount of claim "
ll the clelm le fully unsecu

re`d`,'ll|l ln only oneeeured clalm amount lf l

claim la partially secured. fill in total daim'amount end deduction for
value of collateral or setoff to eelel.clete'unsewred claim.

 

Total clalm, lf
partlally secured

Deductlon for value
of collateral or setoff

Unseculed clelm

 

Oracle America
Ben Thorp

500 Oracle Parkway
Redwood Shores,
CA 94065

Disputed

$1 1 5,773.00

 

UPS

Lockbox 571
Carol Stream, |L
60132

Disputed
Subject to
Setoff

$97,697.98

 

Anatolla Flsek
Sanay| ve Ticar
Engln

Sanayl Cad. 110
Armutlu
Kemalpasa |zmlrl
Turkey 35373-0000

Disputed

 

 

$76,890.50

 

Binary Anvi| lnc.
22525 SE 64th
Place, Suite 257
|ssaquah, WA
98027-5383

Disputed

$73,61 1 .64

 

Co|ller Electric
Bryan & Laura
Co|ller

1119 Van Arsdol
Clarkston, WA
99403

Disputed

$57,984.75

 

Wyna|da Packaging
Accounting 616 866
1561

8221 Graphlc Drive
Belmont, M| 49306

Disputed

$57,227.01

 

Listrak
100 W. Mlllport Rd.
Lilitz, PA 17543

Disputed

$56,539.50

 

Comm Trade USA,
lnc

1934 West Gray St.,
Ste. 200

Houston, TX 77019

Disputed

$47,1 85.68

 

IMC-Metals America,
LLC

Marc|a Melocik,
Donna

99 E. R|ver Dr.,
Rivervlew Square 2
East Hartford, CT
06108

Disputed

$40, 621 .70

 

Brand Makels LLC
Amber Newel|

464 South Ma|n St.
Spanlsh Fork, UT
84660

 

 

 

 

 

 

Disputed

 

 

 

$39,700.00

 

 

 

Ofl'ccial form 204

Chapter 11 or Chapter 9 Cases: List of Credilors Who Have the 20 Largesl Unsecured claims

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page 2

BestCase Bankruptcy

 

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Debtor
Name

Freedom Munitions, LLC

Cese number (lfknawn)

1 8-50615-btb

7l22| 18 10:40PM

 

Name of credltor end v
complete mailing eddneea,
including zip code

Neme, telephone‘number
and emall eddreas'of
creditor contact

Nawre of claim-

(fcr example, trade
debls, bank loans,
professional services,

.` indicate ll claim

le contingent .'

7 unliquidated, or

disputed -

Amount cf claim -

litho claim is fully unaecured, fill in only unsecqu claim amount lf
claim le partially secured, fill in total claim amount and deduction for '

, value of collateral cr setoff to calculate unsecured claim.

 

Totai claim. if
partially secured

Deductlon for value
of collateral or setoff

Unsecured claim

 

Capltal One Vlsa
Statement

PO Box 30285

Salt Lake Clty, UT ,
84130

Disputed `

$37,372.46

 

ST| lntematlonal
114 Halmar Cove
Georgetown, TX
78628

Disputed

$31 ,904.00

 

Val Munde||

1438 Greco Drlve
Clarkston, WA
99403

 

 

 

Disputed

 

 

 

$30,000.00

 

Ofliclal form 204

Chapter 11 or Chapter 9 Cases: List of Credilors Who Have the 20 Lergest Unsecured claims

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Fi|l in this information to identify the oase:

Debtorname _Freedorn Munitions, LLC

 

United Siaies Bankrupicy Court for ihe: DlSTRlCT OF NEVADA

Case number (if known) 18-50615-btp____
l Check iflhl‘s is an
amended liling

 

 

Ochia| Form 2068um
Summary of Assets and Liabilities for Non-|ndividuals 12115

 

Summary ofAssets __ ___ ___ _ ______

1. Schedule A/B: Assets-Real and Personal Prcpen‘y (Oiliclal Form 206A/B)

1a. Rea| prcperty:

 

 

 

 

Copy line 88 from Schedule A/B 5_ ______ __[_]_'_00
1b. Total personal property: 0 00
Copy line 91A from Schedule A/B 5 _______ m '
1c. Tota| of all property: 0 00
copyian 92 from schedule A/B $ __W -
Summary of Liabllities __ __ _ __ _ j _ _
2. Schedule D: Creditars Who Have Clal‘rns Secured by Property (Oflicial Form 2OBD) 23 07 00
copy the total dollar amount listed in column A, Amaunl ofclalm, from line 3 or Schedule D .................................... $ » __%9__00-
3. Schedule E/F: Creditcrs th Have Unsecured Cl'ar`ms {Ofiicial Form 206E/F)
3a. Total claim amounts cf priority unsecured claims: 180 028 36
Copy the lotaf claims from Part1 from line 5a of Schedule E/F .......................................................................... 3 _ _ ______ ’
3b. Total amount of claims of nonpriority amount of unsecured ciaims: 7 961 888 05
Copy the total ofthe amount of claims from Part 2 from line 5b of Schedule E/F +$_ ___'_ _ ’ ' __
4. Total liabilities
Lines 2 + 33 + 3b S__ 3112_2_0’9:6'41
Oflicial Form 2063um Summary of Assets and Liabilities for dion-individuals page 1

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Fill in this information to identify the case:

Debwr"ame rces-rsi<_>n__uvaiions»uc__

United Staies Bankruptcy Couri ior ihe: _plSTRlCT OF NE\{ADJ¢:

Case number (if known) _1_8:50_6_15-btb
l Check iflhis is an
amended filing

Oi°ficlal Form 206/-\/|3
Schedule AIB: Assets - Real and Personal Property wis

Disclosa all property, real and persona|, which the debtor owns or in which the debtor has any other lega|, equitab|e, or future lnterest.
include ali property in which the debtor holds rights and powers exercisable for the debtor's own benefit A|so include assets and properties
which have rio book vaiue, such as fully depreciated assets or assets that were not capitalized. in Schedule AIB, list any executory contracts
or unexpired ieases. Aiso list them on Schedule G: Executory Contracts and Unexpired Leases (Officia| Form 2066).

 

Be as complete and accurate as poss|b|e. if more space is needad, attach a separate sheet to this form. At the top of any pages added. write
the debtor‘s name and case number (if known). Also identify the form and line humberto which the additional information applies. if an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent parl'..

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. in valuing the
debtor’s lnterest. do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1 Does the debtor have any cash or cash equivalents?

l No. Go to Part 2.

|:i Yes Fill in the information below
A|| cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

Deposits and Prepayrnents
6. Does the debtor have any deposits or prepayments?

l No. Go to Part 3.
i;i Yes Fill in the information below.

Accounts receivable

10 Does the debtor have any accounts receivable‘? n f

l No. co to Part 4.
i:| Yes Fill in the information below.

investments
13. Does the'debtor own any investments?

- No. Go to Part 5.
|:] Yes Fill in the information below.

inventory, excluding agriculture assets
1B. Does the debtor own any inventory (exciuding agriculture assets)?

l No. Go lo Part 6_
Ei Yes Fill in the information beiow.

Famr|ng and flshing- related assets (other than titled motor vehicles and iand)
27. Does the debtor own or lease any farming and fishing -reiated assets (oti'ler than titled motor vehicles and iand)?

 

 

. No. Go to Part 7.

thcia| Form P_OBAIB Schedule A)'B Assets - Rea| and Personal F’roperty page 1
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Case 18-50615-btb DOC 28 Entered 07/27/18 19:47:33 Page 16 of 128

 

 

 

 

 

 

 

 

 

 

 

1122/18 10:4DPM
Debtor Freedom Munitions, LLC Case number (/rknawn) 18-50615-btb
Name
l:l \’es Fill in the information beiow.
Office furniture, tixtures. and equipment; and collectibles
36. Does the debtor own or lease any office fumlture, fixtures, equipment, or collectibles?
l No. Go to Part a.
l:l Yes Fill in the lnfonnation below.
Machlnery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?
l:l No. Go to Part 9.
. Yes Fill in the information below.
General description Net book value of Vaiuation method used Current value of
include year. make, modei. and identi&cation numbers debtor's interest for current value debtor's interest
G.e., ViN, HiN. or N-number) 7 (Where availabie)
47. Automobiies, vans, trucka, motorcyc|ee, trailere, and titled farm vehicles
47.1. 2009 Hlno Truok Unknown Unknown
48. Watercraft, traiiels, motors, and related accessories Examples: Boats, trailers, motors,
iioatlng homes. personal watercrait, and fishing vessels
49. Aircraft and accessories
50. Other machinery, fixtures, and equipment (exc|uding farm
machinery and equipment)
51. Tota| of Part 8. $0.00
Add lines 47 through 50. Copy the total to line 87.
52. is a depreciation schedule available for any of the property listed in Part 8?
l No
El Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
- No
l:l Yes
Real proven
54. Does the debtor own or lease any real property?
l:l No. Go to Part10.
l Yes Fill in the information below.
55. Any bullding, other improved real estate, or land which the debtor owns or in which the debtor has an interest
' Description and location of Nature and Net book value of Vaiuation method used Current value of
property extent of debtors interest for current value debtor’s interest
include street address or other debtor's interest (Where availabie)
description such as 'Assessor in property
Parcel Number (APN), and type
of property (for exampie.
acreage. factory. warehouse.
apartment or ofiice bullding, if
available.
Ofiicia| Form 206A/B Schedule AlB Assets - Real and Personal Property page 2

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Case 18-50615-btb DOC 28 Entered 07/27/18 19:47:33 Page 17 of 128

 

 

 

 

 

 

 

7/'22/|8 10:40PM
Debtor Freedom Munitions, LLC Case number {lfknown) 18-50615-btb
Name
55.1. 11243 Fuqua Street,
Suite 1243, Houston,
TX; Commercia|
Lease Leasehoid Unknown Unknown
55'2' 17482-e l-lwy 290
Houston, TX 77040 Leaeehold $0.00 $0.00
56. Totai of Part S. $0.00

 

 

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Ccpy the total to line 88.

 

57. is a depreciation schedule available for any of the property listed in Palt 9?
l No
Cl Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
l No
L_..l Yes

lnianglbles and lntelleccual property
59. Does the debtor have any interests in intangibles or intellectual property?

 

l No. soto Part 11.
l:l Yes Fill in the information beiow.

All other assets

70. Does the debtor own any other assets that have not yet been reported on this fonn?
include all interests in executory contracts and unexpired leases not previously reported on this fonn.

 

El No. Go to Palt12.

. Yes Fill in the information below.
Current value of
debtor's interest

71. Notes receivable
Description (include name of obligor)

 

 

 

72. Tax refunds and unused net operating losses (NOLs)
Descripticn (for examp|e, federal. state, local)
73. interests in insurance policies or annuities
74. Causes of action against third parties (whether or note lawsuit
has been filed)
See attached schedule $0.00
Nature of claim "___` '_"_”
Amount requested __ $0.00
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

76. Trusts, equitable or future interests in property

Ofiicial Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
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7I22!18 10:40FM
Debtor Freedom Munitions, LLC Case number ()rknawn) 18-50615-btb
Neme
77. Other property of any kind not already listed Examples: Season iickets,
country club membership
78. Totai ar Part 11. $0.00
Add lines 71 through 77. Copy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
- No
|] Yes
Ofiicia| Form 206A/B Schedule A/B Assets - Real and Persona| Property page 4

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Debtor Freedom Munitions, LLC

Name

Part 12: Summary

in Part 12 copy all of,the\totals from_the earii r parts f th f rrn

BO.

81 .
82.
83.
84.
85.

86.

87.
88.

89.

90.

91.

92.

OfHCial Form 206A/B

 

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

lnvestments. Copy/lne 17, Part 4.

lnventory. Copy line 23, Part 5.

Farmlng and fishing-related assets. Copy line 33, Part 6,

Office fumiture, fixtures, and equipment; and coilectibies.
Copy line 43. Part 7.

Machlnery, equipment, and vehicles. Copy line 51, Part 8.

 
     

Case number (rf‘

   

trent-valve ' ' ' »
Bf.$°"a.l;i$,'¢?i.¥¢l’fy>

$0.00

$o.oo
$0.00
$o.oo
$0.00
$0.00

$0.00

$0.00

 

Real property. Copy line 56, Part 9

intangibles and intellectual property. Copy/ina 66, Part 10.

Aii other assets. Copy line 78, Part 11.

$0.00

$0.00

 

Totai. Add lines 80 through 90 for each column

 

$0.00

 

 

Totai of all property on Schedule AIB. Add lines 91a+91b=92

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712le mtpr

 

+ 91b.

Schedule A/B Assets - Real and Personal Property

,‘ 18-50615-bfb

 

 

 

$0.00

 

 

$0.00

 

 

 

$0.00

 

 

page 5
Best Case Ban.iuuptcy

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Freedom Munitions, LLC

Case No. 18-50615-btb

Form 206: Schedule A/B: Assets - Real and Persona| Property
#74) Causes of action against third parties

 

 

 

 

 

Third PM Current Value of Debtor’s
law

UPS Unlcnown
United States Depariment Unknown
of Treasury, Alcohol and
Tobacco Tax and Trade
Bureau
Twin River Contract Unknown
Loading, Inc.
Big Canyon Unknown

Environmental, LLC

 

 

 

 

X-Treme Bullcts Inc. Unlmown
Ammo Load Worldwide, Unknown
Inc.

Clearwater Builct, Inc. Unknown
Lewis-Clark Ammunition Unknown

Components, LLC

 

 

 

 

Howell Machine, lnc. Unknown
Components Exchange, Unknown
LLC

Howell Munitions & Unknown

Technology, Inc.

 

 

 

234699

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Freedom Munitions, LLC
Case No. 18-50615-btb

Form 206: Schedule A/B: Assets - Real and Persona| Property

#74) Causes of action against third parties

 

 

 

 

 

 

Z.B., N.A., dba Zions First Unknown
Nationai Bank

CF 0 Solutions LLC, dba Unknown
Advanced CFO

Sussman Shank LLP Unimown
Creason, Moore, Dokken Unknown
& Geidl, PLLC

David C. Howell Unknown

 

 

 

234704

Case 18-50615-btb DOC 28 Entered 07/27/18 19:47:33 Page 22 of 128

7l'22le 1014DPM

Fill in this information to identify the case:

Debtor name i=reedom Munitions, t.l..l.`.

 

 

United States Bankruptcy Court for the: Dl§iBlCT OF i:iEVADA

 

 

Case number ('ri known) 13-50_5-_|§-btb
l Check if this is an

amended filing

Ofi'icial Form 206D
Schedule D: Creditors Who Have C|aims Secured by Property

12!15

 

Ba as complete and accurate as possibie.

1. Do any creditors have claims secured by debtor's property?
l;l No. Checl< this box and submit page 1 of this form to the court with debtor's other schedulesl Debtor has nothing else to report on this iorm_
l Yes. Fill in all of the information below.

m__b|st Credltors Wi_t_o_Have Secu_re_d C|aims

2_ List in alphabetical order all creditors who have secured claima. if a creditor has more than one secured
claim. list the creditor separately for each claim.

C_?oiumnA' _____ _

Amount of claim

 

colth a
Value of collateral

 

 

 

that supports this
Do notdeduct the value claim
__ of ooiiateral.
_2,1 integrity Bapk, $SB ii Deecribe debtor's property that is subject to a lien §2__50,°00_00 _____ $0.00
Cf°d"°i$ Nam° All inventory, Chattel Paperl Accounts,
_ Equipment, Furniture, and General
4040 Washington Ave. intangibles j
Houston, TX 77007
j(i}ireoitors rn§iing address jim Describe the lien
idaho U__C_C_~1 5201712097_792 __ __ _ _
lathe creditor an insider or related party?
7 j f iii 7 n ii - No
Crediloi‘s email addressl lt known [] Yes
le anyone else liable on this claim?
Date debt was incurred |:] No
- ‘res. Fill out Schedule H.' Codebtars (Ofticia| Form ZDSH}
Last 4 digits of account number
'l_J-o mu|tlp|e_c-r;'.li_tors have an __ As of the petition filing date, the c!aim ls:
interest in the same property? Check ali that apply
- No l:] Contingem
l:i Yes. Specify each creditor, n Un"quidat""d
including this creditor and its relative l Disputed
priority_
!NMHG Financiai Services,
l |nc_ Describe debtor's property that is subject to a lien §0-00 $0_-99__
C'°dii°'“§ N=*me Al| equipment now and hereafter leased by
Debtor
P.O. Box 35701
Billings, MT 59107 "_ j "’
Editers_maiilng address _ ___ Describa the lien
idaho UCC-1 520131121‘129~4,
32Q13B1_1_24-9 _ _
is the creditor an insider or related party?
__ _ _ _ - No
Creditei‘s small address. ii known [:] Yes
is anyone else liable on this claim?
Date debt was incurred |:] No
- Yes_ Fill out Schedule H.' Codebiors (0fhciai Form zusH)
Laet 4 digits of account number
_Do multi'ple'cr;§drs have a_n__" Ae of the petition filing date. the claim is:
interest in the same property? Check ali that apply
Ofiiciai Form ZDBD Schedule D: Creditors Who Have C|aims Secured by Property page ‘l of3

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7/22:1510:40PM
Debtor Freedom Munitions, LLC Case number (if knv\~) 18-50615-btb
Name
- No cl Contingent
l:l Yes. Specify each creditor, m U"'iq"idaled
including this creditor and its relative l Disputed
priority.
l 2.3 US Dept. of Treasury Describe debtors property that is suhiectto a lien $5,329,000.00 $0.00
Credllofs Name
Aicohoi & Tobacco Tax &
Trade Bureau
550 Mali'l Street, Suite 8002
Clnclnnafl, OH 45202-5215
Credltors mailing address Deet:rlbe the lien
la the creditor en insider or related party?
- No
Credltors small address lt known n Yes
le anyone else liable on this claim?
Date debt was incurred I:] N°
l ves_ nn our schedule H.- counters tender Form 206H)
Laet 4 digits of account number
Do multiple creditors have an A.e of the petition filing date, the claim ls:
interest ln the same property? Check ali that apply
l N° n Contingent
n Yes. Specii‘y each creditor. n U""q“ida'ed
including this creditor and its relative . U;sputed
priority.
2 4 ZB. N.A., DBA Zions Flrst ,,
l ' Natlonal Bank Descrlbe debtors property that le subjectto a lien 517,500,000.00 $31,650,000.00

 

 

 

Cmditofe Neme

One South Main Street,
Suite 1400
Salt Lake City, UT 84130

Credltors mailing address

 

creditors entail address lt kno;n

Date debt was incurred

Last 4 digits of account number

Do multiple creditors have an
interest in the same property?

-No

 

All personal property assets of the Debtor.
including ali lnventory, chattel paper,
accounts, equipment, furniture, and general
intangibles

 

Descrlbe the lien
idaho UCC-1 B201311254039, B201411404088

 

is the creditor an insider or related party?

i:l Yes

le anyone else liable on this clalm?
n No
- Yes. Fill cut Schedule H: Codebtors (Oflicial Form 206H)

Aa of the petition filing dete. the claim ls:
Check all that apply

l:l Contingent

*Represents estimated aggregate value of

 

n Yes. Specify each creditor, m unliquidated - - '
including this mdmand ns relative - Disputed collateral provided by this Debtor. affiliated
priority Debtors, and non-debtor entitles
sza,ors,o"oe.`i
3_ Totai of the do|leramounts from Part 1, Cciumn A, including the amounts from the Additlonal Fage, if any. 00 ;

List others to es seemed for a oevtAlready uswa in Paru

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agenciea,

assignees of claims listed above, and attorneys for secured creditors.

Oliioial Form 2060 Addltional Page of Schedule D: Credltors Who Have C|aims Secured by Property page 2 of 3

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7IHI1B 10:40PM

Debfcr Freedom Munitions, LLC Case number (ii imw) 13.50615.btb

Name

 

 

lf no others need to notified for the debts listed in Part 1, do not till out or submit this paga. if additional pages are needed, copy this page.
Name and address _ On which line in Part 1 did Last 4 digits of
you enter the related creditoi? account number for
this entity

 

Oiiicial Form 206D Additiona| Page of Schedule D: Credltors Who Have C|aims Secured by Property page 3 of 3

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Fiii in this information to identify the case:

Debior name Freedom Munitions, LLC

 

United Siaies Bankrupicy Court for ihe: DiSTR|CT OF NEVADA

 

Case number (if known) _1_8-50615~btb _ _

l Check if this is an
amended filing

 

 

Ofi"icia| Form 206E/F
Schedule ElF: Credltors Who Have Unsecured C|aims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY unsecured claims and Part 2 for creditors with NONPR|DR|TY unsecured ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Aiso list executory contracts on Schedule A/B: Assets - Reai‘ and
Personai Property (Oiticia| Form 206Al'B] and on Schedule G: Executory Contracts and Unexpired Leases (Oft'iciai Form 2066). Number the entries in Parts 1 and
2 in the boxes on the leit, lt more space is needed for Part1 or Part 2, fill out and attach the Additionai Page of that Part included iri this form.

 

List All Creditors with PRlORi'i'Y Unsecured§|aims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
C] Nci. Go to Part 2.

- Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that arc entitled to priority iri whole or iri part. |flhe debtor has more than 3 creditors
with priority unsecured claimsl flii out and attach the Addifionai Page of Part 1.

 

 

 

 

 

Totai claim F'r'ior'ny amount
iii j Prioriiy crediior's name and mailing address AS ci iiie petition filing dale, the claim is: $U.UD $0.00 j j iiii
Aiei<sander Bukowy Ch€€k ali that apply-
4821 Gentry Lane |:i coniingeni
Carson City, NV 89701 E.i uniiquidaied
- Disputed
Date or dates debt was incurred Basis ior the ciaim:
Various For notice purposes only
Lasi 4 digits of accounl number is the claim subject to offsei'?
Specify Code subsection of PR|OR|TY - No
unsecured ciaim: ‘ii U.S.C. § 507(3) (j)
i:i Yes
2.2 7 l Priority crediiofs name and mailing address AS 01 the petition filing daie, the claim is: $1,30_7.2_5 $1,307.25 vi
Antony Ha|ks Check all that appiy.
631 Preston Ave #3 iii Commgem
Lewiston, iD 83501 Ei uniiquidaieri
l Disputed
Date or dates debt was incurred Basis for the claim;
Various
Last 4 digits cl account number ls the claim subject lo offsel?
Specify Code subsection of PR|OR|TY - No
unsecured ciaim: 11 U.S.C. § 507(3) (¢_1)
i:i Yes
Ofiicial Form ZOEEIF Schedule Ele Credltors Who Have Unsecured Ciaims page 1 of 79

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Case 18-50615-btb

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Debfo Freedom Munitions, LLC Case number(iikndwn) 18.50615-bt_b
Name
E] Prionty creditors name and maiiing address As dr me petition liling daie, ina claim is: $1 0,484.78 $10,484.78
Arthur W Eaton Che¢k all that aple
1395 53rd St N l:l Contingent
Lewiston, lD 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection ot PR|OR|TY - No
unsecured claim: 11 u.s.c. § 507(3) w
m Yes
Priority creditors name and mailing address As of the petition ming date. the claim is: $1 ,627,92 $1 ,627_92
Benjamen iverson Che¢k all that apply-
420 Visfa Ave m Contingent
Lewiston. lD 83501 Ei unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRlORlTY - No
unsecured claim: 11 U.S.C. § 507(a) (g)
m Yes
|E Priority creditor’s name and mailing address As of the petition filing date, the claim is: $1 ,062.86 $1 ,062.86
Benjamin Prior Check allthat apply_
1628 Bth Avenue U Conlingeni
Clarkston, WA 99403 |:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specity Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (3)
n Yes
Prioiity creditors name and mailing address As of the petition filing date. the claim is: $1 ,314_10 $1,314,1 0
Bradley Bjorkquist Ch€¢k all that apply-
3208 Bth St C m Contingent
Lewiston, lD 83501 l'_'l unliquidated
- Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specily Code subsection ot PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (51_)
El Yes
Oflicial Form 206 ElF Schedule ElF: Credltors Who Have unsecured C|aims Page 2 of 79
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Case 18-50615-btb

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Debtor Freedom Munitions, LLC Case number (ii imm) 13-5061 5.btb
Name
Priority creditors name and mailing address As.of the petition filing date, the claim is: $3,053.82 $3,053.82
Bradley Gasper Chsck all lhal apply.
1516 15th Ave i:l Contingent
Lewiston, lD 83501 El unliquidated
. Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits ol account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (A)
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $3,220.65 $3,220.55
Brady ang Check all that apply.
613 Bryden Drive Api o El Coninsem
Lewiston, |D 83501 l:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T\' . N°
unsecured claim: 11 U.S.C. § 507(a) (A)
l:l Yes
Pn'drity creditors name and mailing address As di the petition ming date. the claim is: $8,039.32 $8,039.32
Brandon Dean Check all that apply.
2575 Reservoir Rd |:l Coniingent
Clarkston, WA 99403 El Unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits ot account number is the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (g)
n Yes
Priority creditors name and mailing address As of the petition liling dale. the claim is: $685.08 $585.08
Brenda L Anderson Che€k all that apply.
3531 13th Streef El Contingent
Lewiston, lD 83501 lIl uniiquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify code subsection of PRloRiTY l N°
unsecured claim: 11 U.S.C. § 507(a) @)
l:l Yes
Otticial Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 3 of 19
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Debtor Freedom Munitions, LLC Case number (if kno~n) 18-5061 5-btb
Name
|F__l Priority creditors name and mailing address As of the petition ming date, the claim is: $1,295_05 $1 l295,(]5
Brendon Martin check all that apply.
2723 17th St #202 cl Contingent
Lewiston, ID 83501 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject tc offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (i)
l:l Yes
2.12 Priority creditors name and mailing address As of the petition ming date, the claim is: $2,114.26 $2,1 14.26
Brian A McCammon Che¢k all that apply-
411 3rd Ave n Contingent
Lewiston, ID 83501 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the ciaim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured cleim: 11 u.s.c. § 507(a) (5)
l:l Ves
|E| Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,057.40 $1,057.40
Brook Robinet't Check all that 89le
30100 Mission creek Rd Et Contlnsent
Cu|desac, |D 83524 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (g)
m Yes
Priority creditors name and mailing address As ct the petition ming date, the claim ls: $0.00 $0.00
Bureau of Alcohol, Tobacco, Ctt@Ck all that apply-
Firearms E| Contingent
and Explosives El unliquidated
Publtc Governmenta| Affalrs l Disputed
99 New York Ave., NE
Washington, DC 20225
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits ot account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
Ofticial Form 206 EfF Schedule EIF: Creditors Who Have Unsecured C|aims Page 4 ot19

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Debtor Freedom Munitions, LLC Case number (ilknown) 18-50615-btb
Name
2.15 Priority creditors name and mailing address As of the petition tiling date, the claim is: $0-00 $0-00
Ca|ifomia Dept. of Tax and Fee Cha¢k all that apply'
Adl'l'til'l. m Contingent
Special Operations Bktcy Teaml U unliquidated
M|C:" l Disputed
PO Box 942879
Sacramento, CA 94279-0074
Date or dates debt was incurred Basis for the claim:
For Notice Purposes Only
Last 4 digits of account number ls the claim subject to otfset?
Specify Code subsection of PR|OR|TY l N°
unsecured ciaim: 11 U.S.C. § 507(a) (§)
n Yes
Priority creditors name and mailing address As ot the petition filing date, the claim ls: $3,610.22 $3,610.22
Chad M Kaufmann Cha€l< all that aple
517 Airway Dr l:| Contingent
Lewiston, |D 83501 ij uniiquldated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection ot PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) G)
n Yes
2.17 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Chief Counsel Chaak all that apply~
FTB, Legal oept El Contingem
PO Box 1720, MS A-260 \:l Unliquidated
Rancho Cordova, CA 95741-1720 l Disputed
Date or dates debt was incurred Basis for the claim:
For Notice Purposes Only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured c|alm: 11 U.S.C. § 507(a) (§)
m \'es
2.18 Priority creditors name and maiiing address As of the petition t`l|ing date, the claim is: $960.93 $950.93
Chris A Stouf ChSCk all that apply.
1036 Hemlock Dr |:J Contingent
Lewiston, lD 83501 El unliquidated
tspute
l o' d
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (_4_»)
n Yes
Officia| Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Page 5 of 79

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Debtor Freedom Munitions, LLC Case number (if kno~n) 18~50615-btb
Narne
Priority creditor‘s name and mailing address As of the petition ming date, the claim is: $57.26 $57.25
Christopher Hoit check all that apply.
272 Riverbdat Read El Continsem
Dayton, NV 89403 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claims
Various
Last 4 digits ot account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (A)
l:l Yes
Priority creditors name and mailing address As of the petition filing dale. the claim is: $0,00 $0,00
C|ark County Assessor Cha€lt all that athy.
clo Bankruptcy Clerk m Contlngattt
500 S. Grand Central kay Cl unliquidated
Box 551220 - Disputed
Las Vegas, NV 89155-1401
Date or dates debt was incurred Basis for the claim:
For Notice Purposes Only
Last 4 digits of account number ls the claim subject to offset?
Speciiy Code subsection of PR|OR|TY - N°
unsecured claim: 11 U.S.C. § 507(a) (§_)
m Yes
2.21 Priority creditors name and mailing address As of the petition tiling date, the claim is: $0.00 $0.00
C|ark County Treasurer Cha¢l< all that apply-
clo Bankruptcy C|erk l:l Contlnsa"t
500 S. Grand Centra| Pkwy, Box II| unliquidated
551220 - Disputed
Las Vegas, NV 89155-1401
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ - N°
unsecured ctaim: 11 U.S.C. § 507(a) (§)
\:l \'es
lEl Priority creditors name and mailing address As of the petition filing dale. the claim is: $0.00 $0.00
C|ayton J Holton Check all that apply.
2321 Silver Sage Drive U CO"tlrlt'-lent
Carson City, NV 89701 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various For notice purposes only
Last 4 digits cf account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (3)
L__l Yes
Oflicial Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 6 of 79

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Debtor Freedom Munitions, LLC Case number (it knelm) 13-5061 5-btb
Name
@ Priority creditors name and mailing address As of the petition filing date, the claim is: $906.75 $906.75
C|ayton L Seer check all that apply
2805 9fh Ave n Contingent
Lewiston, lD 83501 E] unliquidated
l oisputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claims 11 U.S.C. § 507(a) (;4_)
El Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Commodity Futures Trading Che€k all lhal apply-
Commission El Contingent
1155 21st Sf. NW El Unliquidated
Washtngton, DC 20581 l Dispmed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T‘( - No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
l§___] Priority creditors name and mailing address As of the petition filing date. the claim is: $1,375.00 $1,375.00
Corey Van Zante Check all lhal apply-
3710 14th street c El contingent
Lewiston, lD 83501 Cl unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (_l_t_)
l:| Yes
Priority creditors name and mailing address As at the petition filing dale, the claim is: $37_26 $37.26
Dan Hellickson Che€l< all that app/y-
1662 Ashley Drive El Conv'ngent
Clarkston, WA 99403 E| unliquidated
- Disputed
Date or dates debt was incun'ed Basis for the clalm:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 501(a) (g)
[:l ¥es
Ofiicial Forrn 206 EfF Schedule ElF: Credltors Who Have Unsecured C|aims page 7 of 79

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Debtm. Freed°m Munitions LLC Case number (ifltnewn) 18-50515-bfb
Name
Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,665.30 $1 ,665.30
Danie| Manue| Agui|ar Ch€€k all that apply»
419 2nd Avenue, Apt 3 El Contingent
Lewiston, |D 83501 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY - N°
unsecured ctaim: 11 U.S.C. § 507(a) (_4_)
l:l Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $6,633.20 $6,633.20
Dara R Bringman Check all that apply-
336 5fh Sf. Apf. B m Contingent
Lewiston, tD 83501 El unliquidated
l Disputed
Date or dates debt was incun'ed Basis lor the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY . N°
unsecured claim: 11 U.S.C. § 507(a) (5)
m Ves
Priority creditors name and mailing address As of the petition filing date. the claim is: $5,991_34 $5,991_34
David C Howell Ch€€k all fhalapply-
29978 Thiessen Rd L_.l Conlingent
Lewiston, ID 83501 El unliquidated
l Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits ot account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claims 11 U.S.C. § 507(a) (A)
n Yes
Priority creditors name and mailing address As of the petition liting date, the claim is: $840.07 $840.07
David Sanborn Check all that apply¢
102 N th Street m Contingenl
Kendrick, lD 83537 l:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the clalm:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY - N°
unsecured ciaim: 11 U.S.C. § 507(3)(_¢_1_)
m Yes
Official Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 8 of 79
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Debtor Freedom Munitions, LLC Case number (it knowi) 18-50615-btb
Narne
E| Priority creditors name and mailing address As of the petition filing date, the claim is: $387.67 $387.67
David Town Check all that apply.
1014 15‘|‘.h Sf. Apt. 2 g Contingent
Lewiston, lD 83501 U unliquidated
- Disputed
Date or dates debt was incun'ed Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (5)
[:l Yes
E| Priority creditors name and mailing address A.e. ol the petition tiling date, the claim is: $0.00 $0.00
Dept. of Employment, Training & Check all that apply.
Rehab n Contingent
Employment Security Division El unliquidated
500 East Third Street l Disputed
Carson City, NV 89713
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
m Yes
§ Priority creditors name and mailing address As of the petition tiling date, the claim is: $4,285.25 $4,285.25
D°n Crea Check all that apply. .
4034 s Gartield El contingent
Spokarle, WA 99203 g Unliquidated
l Disputed
Date or dates debt was incurred Basis for the ciaim:
Various
Last 4 digits of account number ts the claim subject to offset?
Specify Code subsection of PR|OR|TY l ND
unsecqu claim: 11 U.S.C. § 507(a) 01)
l:l Yes
Priority creditors name and mailing address As of the petition ming date. the claim is: $788.42 $788.42
Donald E Young Check all that apply.
1411 Bryden Ave 6 E| contingent
Lewiston, lD 83501 E| unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured elaim; 11 u.s.c. § sorla) (5)
n Yes
Otticial Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Fage 9 of 79

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Debtor Freedom Munitions, LLC Case number (ttltnawn) 13-50615-btb
Name
2.35 Priority creditors name and malling address As of the petition filing date, the claim is: $0.00 $0.00
Environmental Protection Agency Check all that apply
Office of Genera| Counsel m Conttt'tgerit
1200 Pennsy|vania Ave., N.W. |J unliquidated
Washlngton. DC 20460 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|ORIT‘( l No
unsecured claim: 11 U.S.C. § 507(a) (§)
[:l Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $0.00 $0.00
Franchise Tax Board Check all that apply~
aankruptey section, lvls A340 El contingent
PO Box 2952 |J unliquidated
Sacramento, CA 95812-2952 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
2.37 Priority creditors name and mailing address As of the petition nling date. the claim is: $154,58 $1 54.58
Gary J Steckel Check all that apply-
1901 7fh Ave 4 n Conlingent
Lewiston, lD 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (4)
m Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $559.50 $559.50
Gloria Stolte Check all that apply~
37279 Growler Point Road n CDtititig€iit
Reubens, lD 83548 |:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (_4)
g Yes
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DablOt' Freedom Munitions, LLC Case number (iilindwn)
Nama
Priority creditors name and mailing address As of the petition filing date. the claim is: $658.90 $658.90
ldaho State Tax Commission Check all that apply~
Bankruptcy Division El contingent
PO Box 36 E| unliquidated
Bolse, |D 83722 l Disputed
Date or dates debt was incurred Basis for the claims
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
lnternal Revenue Service Cha€k all that apply~
PO Box 7346 n Contingent
Phi|ade|phia, PA 19101-7346 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|ORIT¥ l No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $6,435.60 $6,435.60
Jacob T Maasdam Cha€k all that apply-
630 D Preston Ave l:l Contingenl
Lewiston, lD 83501 l:l unliquidated
l Disputed
Date cr dates debt was incurred Basis for the claim:
Vadous
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claims 11 U.S.C. § 507(a) (g)
n Yes
2.42 Priority creditan name and mailing address As of the petition ming data. the claim is: $1,346.16 $1,346.16
Jame$ Chase Check all that apply.
1703 cedar Drive El contingent
Lewiston, |D 83501 l:l unliquidated
l Disputed

 

Date or dates debt was incurred
Various
Last 4 digits of account number

Specify Code subsection of PRtORlTY
unsecured claim: 11 U.S.C. § 507(a) (_4)

Basis for the claim:

ls the claim subject to offset?
. No
n Yes

 

Ol‘ficial Form 206 ElF

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Schedule ElF: Credltors Who Have Unsecured C|aims

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Debtcr Freedom Munitions, LLC Case number (ill<ncmn) 18~50615-btb
Name
Priority creditors name and mailing address As of the petition filing date, the claim is: $4,558.90 $4,558.90
Jeff J Lohman Check all that apply.
PO BOX 493 cl Confingent
Ju|iaetta, lD 83535 |:| unliquidated
- Disputed
Date or dates debt was incun'ed Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (3)
[:l Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $1 ,420.65 $1 ,420.65
Jeffrey A|an Ackeret Check all that apply-
2523 Sun$et Dl' n Contingent
Lewiston, lD 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (4)
n Ves
Priority creditors name and mailing address As of the petition filing date, the claim is: $788.33 $788.33
Jeremy Jenkins Check all that apply.
1804 15th Ave m Contingent
Lewiston, lD 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the ctaim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (3)
l:l ¥es
Priority creditors name and mailing address As of the petition flling date. the claim is: $628.13 $628.13
Jessie N| Baker Check all that apply.
2130 Hillyard Drive |:l Contingent
C|arkston, WA 99403 E| unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (5)
m Yes
Ofl'lcial Form 206 E/F Schedule ElF: Creditors Who Have Unsecured C|aims Page 12 of 79

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Deblt>r Freedom Munitions, LLC Case number (itlindwn) 18.50615-btb
Name
Priority creditors name and mailing address As of the petition filing date. the claim is: $2,596.27 $2,596.27
Jesus Ramirez check all that apply.
2109 idaho street C| Contingont
Carson City, NV 89701 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits cf account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claims 11 U.S.C. § 507(a) (5_)
[:l Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $111.00 $111 .00
John Kiss|er Cha¢lt all that apply~
3415 th Sf Apf F m Contingent
Lewiston, lD 83501 l:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (_4)
m Ves
Priority creditors name and mailing address As of the petition filing date. the claim is: $4,432.04 $0.00
Joseph Levi Seideman Check all that apply-
1328 14 Ave l:l Contingent
Lewiston, |D 83501 E| unliquidated
. Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (g)
l:l Yes
Priority creditors name and mailing address As of the petition nling date. the claim is: $1 ,470.94 $1 ,470.94
Joshua Wemlinger Chaalt all that apply-
1203 11th Avenue, El contingent
Lewiston, lD 83501 El Unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify code subsection et PRtORlTY l N°
unsecured claim: 11 U.S.C. § 507(a) (£)
l:l Yes
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Debtor Freedom Munitions, LLC Case number (it known) 18_50615-btb
Name
E] Priority creditors name and mailing address As of the petition tiling date. the claim is: $3,240.48 $3,240.48
Karin Nelson check ali that apply
3207 Gth Street C i:i Contingent
Lewiston, |D 83501 EI unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number is the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claims 11 U.S.C. § 507(a) (A)
- n Yes
|z§li Priority creditors name and mailing address As ot the petition filing date, the claim is: $3,269.83 $3,259.83
Kathryn l Marion check ali that appiy.
304 Watson St i:i Contingent
Culdesac, lD 83524 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claims 11 U.S.C. § 507(a) (¢t_)
m Yes
|:§_3__:] Priority creditors name and mailing address As of the petition filing date. the claim is: $1,441.23 $1,441.23
Kelsey Dawn Wakefield Check allthalapply-
39565 Whispering Pines Lane n COnlanenl
Lewiston, lD 83501 E| unliquidated
l Disputed
Date or dates debt was incurred Basis for the ctaim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ l No
unsecured claim: 11 U.S.C. § 507(a) G)
ij Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1,102.50 $1,102.50
Kevin Robert Acree Check all that apply
1714 Burrell Ave m C°nting€"f
Lewiston, lD 83501 l:i unliquidated
- Disputed
Date or dates debt was incurred Basis for the ciaim:
Various
Last 4 digits of account number is the claim subject to offset?
Specify Code subsection of PR|OR|T¥ l No
unsecured claim: 11 U.S.C. § 507(a) (3)
n Yes
OtTlcial Form 206 E/F Schedule Ele Credltors Who Have Unsecured C|aims Page 14 of 19
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Debtor Freedom Munitions, LLC Case number (illtno~n) 18-50615-btb
Narne
@ Priority creditors name and mailing address As of the petition liiing date, the claim is: $2,943.51 $2,943.51
Krista Lafhrop Check all that apply.
1331 BOSt°l‘l Sf i:i Contingent
Cial'ksfol'l, WA 99403 i:i Unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specin Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (5)
' ij Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $911_88 $911 _88
Kyle Tayl or Garrison Check all that apply-
824 7fh Sft'eef i:-i Contingent
C|arkston, WA 99403 |:l uniiquidated
l oisputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (g)
i:i Yes
2.57 Priority creditors name and mailing address As of the petition filing date. the claim is: $1,359.08 $1,359.08
Lisa McEwen Check all that apply.
620 S B St. i:i Contingent
Grangevil|e, ID 83530 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (3)
i:i Yes
Priority creditors name and mailing address As or tire petition filing date. the claim is: $86.97 $86.97
Lucas R. Evonne Check all that apply-
5307 s Rome cir El Contingent
Aurora, CO 80015 Ei unliquidated
l oispuied
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsecv'on of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (5)
Ei Yes
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Debtor Freedom Munitions, LLC Case number (""“°‘”") 18‘50615'[’&’
Name
Priority creditors name and mailing address As or the petition tiiing date. the claim is: $5,295.86 $5,295.86
Matt Dodson check all mar apply.
161 schuiier Grade Road El Contingent
Yakima, WA 98908 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the ctalm:
Various
Last 4 digits cf account number |s the claim subject to offset?
Specify Code subsection of PR|ORIT¥ - No
unsecured claim: 11 U.S.C. § 507(a) (g)
i:i Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $10,756,38 $10,756,38
Matthew R Lerche Check all thatapl>ly~
1919 Bit'Ch Ave i:i Contingent
Lewiston, lD 83501 |:l unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecqu claim: 11 U.S.C. § 507(a) (,4)
l:i Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $713.70 $713.70
Matthew W Shaw Check all that apply.
204 3rd street i:i Contingent
Lewiston, lD 83501 |:l unliquidated
- Disputed
Date or dates debt was incunled Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specin Code subsection of PR|OR|TY . N°
unsecured claim: 11 u.s.c. § 507(a) (4_)
i:i Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $983.40 $983.40
Michael Arthur Long Check all that apply-
2031 Lone Mountain # 49 \Zl Contingent
Carson City, NV 89706 l'_`l unliquidated
l oisputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection ol PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (t_l)
n Yes
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Debtor Freedom Munitions, LLC Case number (ininown) 18-50615-b¢b
Name
2.63 Priority creditors name and mailing address As of the petition filing date. the claim is: $819.00 $819.00
Michael Dal Harrell check ai/matapply-
3507 11fh Sf m Contingent
lewiston, lD 83501 n Unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (5)
l:l ¥es
Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Michae| Mundy check all that apply-
3953 FOthill Drive L_.l Contingent
Lewiston, |D 83501 E| unliquidated
l Disputed
Date or dates debt was incun'ed Basis for the claim:
Various For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (¢_t)
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $2,153.00 $2,158.00
Michael Rogers Check all that apply-
1627 18th Ave. n Contingent
Lewiston, tD 83501 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TV l No
unsecured claim: 11 U.S.C. § 507(a) (_4_)
n Yes
Priority creditors name and mailing address As or the petition ming date. the claim is: $2,893.78 $2,893.78
Michael T Devin Check all lh_af aple
1817 12th ave El contingent
Lewiston, lD 83501 E| uniiquldated
- Disputed
Date or dates debt was incurred Basis for the ctaim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify code subsection ot PRloRlTY l No
unsecured claim: 11 U.S.C. § 507(a) (5)
m Yes
Otticial Form 206 E/F Schedule ElF: Creditors Who Have Unsecured C|aims Page 17 of 79
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Deblor Freedom Munitions, LLC Case number (trltnown) 13.50515.¢,15
Name
2.67 Priority creditors name and mailing address As of the petition filing date. the claim is: $599.65 $599.65
Mike Doxtator cheek all that apply.
POB 1068 m Contingent
Lewiston, tD 83501 |'_'l unliquidated
. Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY l No
unsecured claim: 11 U.S.C. § 507(a) (3)
E| Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1,155.75 $1,155.75
Nathan Dreadfulwater Check all that apply-
1209 Grelle Ave m Contingent
Lewiston, ID 83501 E| unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (5_)
l:l Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1,046.61 $1,046.61
Nathan W Karki check all that apply
1718 1Sf Sfreef ~ n Contingent
Lewiston, lD 83501 l:l unliquidated
l Disputed
Date or dates debt was lncurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (A)
m ¥es
Priority creditors name and mailing address As of the petition filing date. the claim is: $96.41 $96.41
Nevada Department of Taxation Check all ll'lal apply-
1550 Col|ege Parkway, Ste. 115 n Contingent
Carson City, NV 89706 L__| unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY . No
unsecured claim: 11 U.S.C. § 507(a) (§)
l:l Yes
Oiticial Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 18 of 79

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Debt<>l‘ Fr_eedom Munitions, LLC Case number (iiitnown) 18-50515.1,¢1,
Name
2.71 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Nevada Department of Taxation Check all that apply-
Bankruptcy Section |J contingent
4600 Kietzke Ln., Suite L-235 El Unliquidated
Reno, NV 89502 - Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) @
l:l ¥es
Priority creditors name and mailing address As of the petition t'rling date. the claim is: $0.00 $0.00
Nevada Department of Taxation Check all that apply-
Bankruptcy Section El contingent
555 E. Washington Ave., #1300 El unliquidated
Las Vegas, NV 89101 l Disputed
Date or dates debt was incunled Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (§)
\:l Yes
2.73 Priority creditors name and mailing address As of the petition filing date. the claim is: $0,00 $0_00
Nevada Dept of Environmental Check all that apply-
Protection U Contingent
2030 E. Flamingo Road, Suite 230 U unliquidated
Las Vegas, NV 89119 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l ND
unsecured claim: 11 U.S.C. § 507(a) (§)
El Yes
2.14 Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
Nevada Dept of Environmental Chat=lt all that apply~
Protection m Contingent
901 S. Stewart Street, Suite 4001 Cl Unliquidated
Carson City, NV 89701 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specin Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
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Debtor Freedom Munitions, LLC Case number (ill<ne~n) 18-50615-btb
Name
2.75 Priority creditor's name and mailing address As of the petition filing date. the claim ls: $6()_0[) $60,00
Raymond Dave Tyson check ali that apply.
20840 NW Kachina Ave cl Contingent
Redmond, OR 97756 |:| unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|T¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (3)
m Yes
2.76 Priority creditors name and mailing address As of the petition filing date. the claim is: $1 ,440.60 $1 ,440.60
Reymon Joseph Parot Che€k alllhalapply-
PO BOX 854 m Contingent
Asotin, WA 99402 U unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY l N°
unsecured claim: 11 u.s.c. § 507(a) 99
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $64,64 $64.64
Rober|;o Garza Check all that apply.
2821 Lovelace Way |:l Contingent
Carson City, NV 89706 E| unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
[] Yes
v Priority creditol‘s name and mailing address As of the petition Eling date. the claim is: $338.10 $338.10
Rodo'f° Ahumada Check all lhaf apply.
293 Monte Cristo Drive n Contingent
Dayton, NV 89403 E| unliquidated
l Disputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (g)
l:l Yes
Ofiicial Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Page 20 of 79
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Debtor Freedom Munitions, LLC Case number (iltnown) 18-50615-btb
Narne '
Priority creditors name and mailing address As of the petition filing date. the claim is: $4,897.59 $4,897.59
Scott B Penton Check all that apply.
1060 Canterwood Drive |:| contingent
Moscow, lD 83843 El unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY l No
unsecured claim: 11 U.S.C. § 507(a) (4,)
l:l Yes
Priority creditors name and mailing address As of the petition liling date. the claim is: $3,974_72 $3,914_72
Sean Brady Becker Check all that apply-
2611 Meadowlark Dr El Contingent
Lewiston, |D 83501 EI unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlT¥ - N°
unsecured claim: 11 U.S.C. § 507(a) (4_)
l:l Yes
Priority creditors name and mailing address As or the petition tiling date. the claim is: $0_00 $0_00
Secretary of the Treasury Check all that apply-
1500 Pennsy|vania Ave. NW |'_`| Contingent
Washington, DC 20220 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection 01 PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (§)
m ¥es
Priority creditors name and mailing address As of the petition filing date. the claim is: $7,055.50 $7,055.60

Shaun Barclay
1815 lmnaha Lane
Lewiston, lD 83501

 

Date or dates debt was incurred

Check all that apply.
g Contingent
El unliquidated

l Disputed

Basis for the claim:

 

Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (3)
m Yes

 

Off`lcia| FolTn 206 ElF

Schedule ElF: Creditors Who Have unsecured C|aims
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Debtol’ Fl’eedom Munitions, LLC Case number (if kn°,,n) 13.50615_btb
Name
Priority creditors name and mailing address As of the petition filing date. the claim is: $1,048.04 $1,048.04
Shawn Burke Check all that apply.
147 Shiloh Dr m Contingent
Lewiston, |D 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (3) '
I:l Yes
Priority creditors name and mailing address As ot the petition Eling date. the claim is: $0.00 $0.00
Small Business Administration Cha€k all that apply-
1020 Mairl St., #290 n Contingent
Boise, lD 83702 |:l unliquidated
l oisputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (§_)
l:l Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $0_00 $0_00
Social Security Administration Check all that apply.
oftice of the Regional chief D Contingent
Counsel ij unliquidated
160 Spear_Street, Suite 800 l Disputed
San Franclsco, CA 94105-1 545
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRlORlT¥ - N°
unsecured claim: 11 u.s.c. § 507(a) (g)
El Yes
Priority creditors name and mailing address As ot the petition ming date. the claim is: $9,154.57 $9,154.57
Stephen S Howell Check all that app/y-
836 Frost Ln E| Contingent
C|arkston, WA 99403 |I| unliquidated
l oisputed
Date or dates debt was incuned Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
specify code subsection or PRloRlTY l ND
unsecured claim: 11 U.S.C. § 507(a) (t_t)
m ¥es
Schedule ElF: Credltors Who Have Unsecured C|aims Page 22 of 79

Officia| Form 208 E/F

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Debfor Freeclom Munitions, LLC Case number (itkndwn) 18-50615.[,¢|,
Name
2.87 Priority creditors name and mailing address As of the petition filing date. the claim is: $719.47 $719.47
Steven Michael Hil| Check all lhal apply»
PO BOX 562 n Contingent
Asotin, WA 99402 E| unwared
l Disputed
Date or dates debt was lncun'ed Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 U.S.C. § 507(a) (A)
I:l Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $663.00 $663.00
Tequis Garnett Penney Check all lhal apply-
PO BOX 417 L_.\ Contingent
Lapwai, lD 83540 El unliquidated
l Disputed
Date or dates debt was incuned Basis lor the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l N°
unsecured claim: 11 U.S.C. § 507(a) (_4)
m Yes
Priority creditors name and mailing address As of the petition filing date, the claim is: $0_00 $C_OO
Texas Workforce Commission Check all lhal apply-
Regu|atory integrity Division-SAU n Contingent
101 E. 151h Sf., Room 556 n Unliquidated
Austin, TX 78778-0001 l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTV l No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $4,707_12 $4,70'{'.12
Timothy B Stevenson Sr Check all lhalapply-
P.O. Box 1805 [J Contingent
Lewiston, |D 83501 |J unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY l No
unsecured claim: 11 U.S.C. § 507(a) (A)
g Yes
Ofiicial Form 206 E/F Schedule EIF: Credltors Who Have Unsecured C|aims Fage 23 of 79
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Debtor Freedom Munitions, LLC Case number (if linnwn) 18-50615-btb
Narne
2.91 Priority creditors name and mailing address As of the petition filing date. the claim is: $3,011.09 $3,011 .09
Timothy R Norris cheek all that apply
904 25th Avenue # 201 lIl contingent
Lewiston, lD 83501 |I| unliquidated
. Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY . N°
unsecured claim: 11 U.S.C. § 507(a) (£)
n Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1 1 ,325.61 $11 ,325.61
Tobias D Thill Check allthatappiy.
122 15th Avenue E| Contingent
Lewiston, lD 83501 E| unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlTY . No
unsecured claim: 11 U.S.C. § 507(a) (3)
El Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1 ,233.48 $1 ,233.48
Travis Johnson Check all lhal apply-
3333 112 5fh Sf n Contingent
Lewiston, lD 83501 El unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l No
unsecured claim: 11 u.s.c. § 507(a) @)
13 Yes
Priority creditors name and mailing address As of the petition filing date. the claim is: $1,498.55 $1,493.55
Trevor TJ Torrez Check all lhal apply-
205 14th Ave m Contingent
Lewiston, |D 83501 l:l unliquidated
- Disputed
Date or dates debt was incurred Basis for the claim:
Various
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY - N°
unsecured claim: 11 u.S.c. § 507(a) 09
U Yes
Official Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 24 of 79
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Debtor Freedom Munitions, LLC Case number (it knm) 13-50615-btb
Name
Priority creditors name and mailing address As cl the petition filing date. the claim is: $0.00 $0.00
U.S. Department of Labor Check all lhal apply-
Occupational Safety & Health n Contingent
Admin. El unliquidated
200 Constitution Avenue, NW l oisputed
Room# N3626
Washington, DC 20210
Date or dates debt was incuned Basis for the claim:
For notice purposes only
Last 4 digits of account number ts the claim subject to offset?
Specify Code subsection of PR|OR|TY . N°
unsecured claim: 11 U.S.C. § 507(a) (§)
El Ves
Priority creditors name and mailing address As of the petition filing date. the claim is: $0.00 $0.00
U.S. Dept. of Treasury Check all lhal apply-
Alcohol and Tobacco Tax and E| contingent
Trade Bureau |:l unliquidated
Office of Communications l Disputed
1310 G Street, NW, Box 12
Washington, DC 20005
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PRtORlT¥ - No
unsecured claim: 11 U.S.C. § 507(a) (§)
n Yes
2.97 Priority creditors name and mailing address As ot the petition tiling date. the claim is: $0.00 $0.00
United States Attorney Check all that apply-
100 W. Liberty Street, #600 |:| Contingent
Reno, NV 89501 II] unliquidated
l Disputed
Date or dates debt was incurred Basis for the claim:
For notice purposes only
Last 4 digits of account number |s the claim subject to offset?
Specify Code subsection of PR|OR|TY - No
unsecured claim: 11 U.S.C. § 507(a) (_t}_)
n Ves
2.98 Priority creditors name and mailing address As ot the petition tiling date. the claim is: $0.00 $0.00
United States Attorney's Office Check all that apply»
Attn: Civil Process Clerk m Contingent
501 Las Vegas Blvd.l South, Suite E| unliquidated
1100 l Disputed
Las Vegas, NV 89101
Date or dates debt was incumed Basis for the claim:
For Notice Purposes Only
Last 4 digits of account number ls the claim subject to offset?
Specify Code subsection of PR|OR|TY l NO
unsecured claim: 11 U.S.C. § 507(a) (§_)
|:l ¥es
Olticial Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Page 25 of 79
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Debtor Freedom Munitions, LLC

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Case number (itlrnown)

 

Name

Priority creditors name and mailing address
US Securities & Exchange
Commission
Attn: Bankruptcy Counsel
444 S. Flower St., Ste. 900
Los Angeles, CA 90071-9591

Date or dates debt was incun'ed

 

As of the petition tiEng date. the claim is:
Check all that apply.

n Contingent

E] Unliquidated

- Disputed

Basis for the claim:
For notice purposes only

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$0.00 $0.00

 

 

Last 4 digits of account number

Specify Code subsection of PR|OR|T¥
unsecured claim: 11 U.S.C. § 507(a) (§_)

ls the claim subject to offset?
l No
n Yes

 

List All Creditors with NCNPR|OR|TY Unsecured C|aims

 

3. List in alphabetical order atl of the creditors with nonpriority unsecured claims. lt the debtor has more than 6 creditors with nonpn`ority unsecured claims. till

out and attach the Additional Page of Part 2.

Amount of claim

 

 

 

 

 

Nonpriority creditors name and mailing address k of the petition filing date, the claim is: Check all that apply. $0.00
823 D Street, LLC n Contingent
323 P St'ef|; |J uniiquldated
ewlston, 83501 . Disputed
Date(s) debt was incurred _
Basis for the claim: ___
Last 4 digits of account number_
ls the claim subject to oliset? - No n ‘(es
E| Nonpriority creditors name and mailing address As of the petition titing date, the claim is: check all ttiatapply. $0.00
A-L Compressed Gases, lnc. E| contingent
4230 E Trenf AVB |:] unliquidated
Spokane, WA 99202 . Disputed
Dat s debt was incurred Va|'iO\.lS .
e( ) _ Basis for the claim: For Notice Purgoses Only
Last 4 digits of account number_
ls the claim subject to offset? . No l:l Yes
Nonprlority creditors name and mailing address As of the petition filing date. the claim ls: Check all that apply $550.00
Abso|ute Machine Solutions l] contingent
26387 Rocky Top Lane |:| unliquidated
Lapwal, |D 83540 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nenprierity creditors name and mailing address As or tire petition filing date. the claim is: enact all rnetepply. $531.59
Action Medical lnc l:l contingent
p0 Box 189 l:l Unliquidated
Newmann Lake, WA 99025 - nispmed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject te arisen l No E| Yes
§ Ndnprtdrity creditors name and mailing address As or tire petition filing date. tire claim is: clear all tier epply, $1 ,985.22
ADP, ll'lC. n Contingent
PO B°X 342375 El unliquidated
Boston, MA 02284 - Disputed
Date(s) debt was incurred Various
___ Bas|s for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Ves
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Deber Freedom Munitions, LLC

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Name
Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check all lhalapply. $633.34
ADT Security Sevices |:l contingent
PO BOX 371878 n unliquidated
Plttsbl.lrgh, PA 15250-7878 - Disputed
Date(s) debt was incurred Various
_ Basis forthe claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:l Yes
Nonpriority croditcr's name and mailing address As cl tno petition ming dato, tbo claim is: check aiiirni apply. $0.00
AdVI-lnced CFO m Contingent
13601 W MCMillan Rd m Unliquidated
#1 02 -
_ Dis uted
Boise, lD 83713 ”
nate(s) debt was inclined _ Bas's f°' me °'a"“’ -
Last 4 diggs of account numbgr_ ls the claim subject to offset? - No l:] Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check all that apply. $4,932.07
Air Electric U contingent
5603 E. 3l'd Ave. |:| unfiquidated
Spokane, WA 99212 - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Ves
Nonpriority creditors name and mailing address As of the petition filing date. the claim is: Check all lltal apply. $695.00
Alan Baker CO, LLC El Contingent
Sean l] unliquidated
PO Box 2128 - .
. DlS uled
san Francisco, cA 94083 "
Date(s) debt was incurred Various Bas's forma c'a'm: -
Last 4 digits of account number _ ls the claim subject to offset? - No \:l Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $159.50
Alcobra |:l contingent
Jeff Th°ma$ S El unliquidated
4510 N Freya t. l _
Dls uted
spokano, wA 99217 "
Date(s) debt was incurred Various Basls for me cla'm: -
Last 4 diggs of account number _ ls the claim subject to offset? - No [:l Yes
E] Nonpriority creditors name and maillng address As of the petition filing date, the claim is: Check all that apply. $90.00
Alex Rakos E| contingent
710 Sul`l$et BlVd. NOl’th, Unit B m Unliquidated
Sunset Beach, NC 28468 - Disputed
Date(s) debt was incurred Various _
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No L_.l Yes
[E Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 ,600.00
Alexis Knowles |:l contingent
574 E. Lel'lign Drive g Unliquidated
De|tona, FL 32738 - Disputed
Date(s) debt was incurred Various ,
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Olticia| Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Fage 21 of 19
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blame
[E Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all rhaiapply. $161 .55
Alhambl’a E] Contingent
gollB°xT§(sgg;:S-OS?Q n Unliquidated
a
a s’ l Disputed
Date(s) debt was incurred Various
__ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No |:l Yes
Nonpriority creditor's name and mailing address ks of the petition filing date, the claim is: Check alliharapply. $875.00
All-American Publishing E| contingent
5411 Kenda" St. m Un"quidated
Boise, |D 83706 l l Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No cl \'es
Nonpriority creditors name and mailing address As ofthe petition filing date. the claim is: check oi/ mar apply. $229.08
Ai|en Nicholas i:l contingent
412 H¢_>Pewe" Rd. Ei unliquidated
Maryvllle, TN 37801 l - Disputed
Date(s) debt was incurred Various
Basis fur the claim: _
Last 4 digits of account number _
ls the claim subjectto offset? - No cl Yes
Nonpriority creditoi’s name and mailing address As of the petition filing date, the claim is: Check all ihatapply. $1,455.20
Al|ied Electronicsl lnc i:| contingent
Chris lendquist Tom |:| unliquidated
PO Box 2325 -
D`S fed
Fon wonh, Tx 76113 "’“
Date(s) debt was incurred Various Basis for me claim: _
Last 4 diggs of account number_ ls the claim subject to offset? - No m Yes
Nonpriority creditors name and mailing address As of the petition filing date. the claim is: check all that apply. $1 ,920.00
A|yssa Gamb|a |;i contingent
8460 W 91 Sf Sf. m Unliquidated
Hickory Hll|s, IL 60457 - Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
American Security Brass & Reioading ij contingent
Po Box 9169 U Unliquidated
Greerton, Tauranga, New Zea|and l Disputed
Date(s) debt was incurred _ _
Basis for the claim: _
Last 4 digits of account number_
is the claim subject lo offset? i:l No - Yes
Nonpriority creditofs name and mailing address As of the petition filing date, the claim is: check all mar apply. $1,737.96
AmeriPride l:] Contingent
Ange| E| unliquidated
PO Box 1160 - .
. .. Dcs uted
Benndn, MN 56619-1160 °
Date(s) debt was incurred Various Bas's for me claim: -
Last 4 digits of account numbar_ ls the claim subjecl to offset? . No l:i Yes
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Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: Check all that apply. $0.00
Ammo Dlrect El contingent
;'0° rBt°x 91169 N z l d l:] Unliquidated
fee Ol'l aural'i a eW
’ g ’ ea an l Disputed
Date(s) debt was incuned __
_ Basis for the claim:
Last 4 digits of account number _ _'
ls the claim subject to offset? - No l:l Yes
E| Nonpriority creditor‘s name and mailing address As of the petition ming date, the claim is: check alllllat apply. $0.00
Ammo Load Wor|dwide, lnc. |'_'i contingent
815 P Street El unliquidated
Lewlston, |D 83501 . .
Disputed
Date(s) debt was incuned _
Basis for the claim:
Last 4 digits or account number _ `
le the claim subject to offset? E| No l ves
|E] Nonpn`olity creditor's name and mailing address As of the petition filing date. the claim is: check all that apply. $3,000.00
AmmoSeek LLC E| contingent
;04 L"!|€l|$a`i;i;lzlg" E| unliquidated
el l yVl e
’ _ - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No l:l Yes
E Nonpriority creditors name and mailing address As or the petition tiling date. ute claim ls: check all inst apply. $242.00
Amp|e Supply Co |:l contingent
john _ 0 _ Ci uniiquidated
1401 S. Pralrle Drlve . ms uth
Sycamore, lL 60178 p
nato(s) debt was incuned Various Basis f°' me claim: -
Last 4 digits of account number_ is the claim subject to offset? - No n Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all trial apply $1,386.00
Anatek Labs, inc Ei contingent
1282 A|turas Drive El unliquidated
Moscow, iD 83843 - Disputed
Date(s) debt was incurred Migg_s_
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:] Yes
|15_| Nonpriority creditors name and mailing address As or the petition filing date, the claim ls: check all mal aple $76,690.50
Anatoiia Fisek Sanayi ve Ticar |:| contingent
Engin I:l Unliquidated
Sanayi Cad. 110 Armutlu - .
. Dls uted
Kemalpasa lzmlr, Turkey 35373-0000 p
Date(s) debt was incurred Various Basis for the claim: _'
Last 4 digits ot account number _ ls the claim subject to offset? - No L__| Yes
Nonpriority creditor's name and mailing address As of the petition tiling date, the claim ls: Check all that apply. $144.77
Andrew Leffer l:l Contingent
2960 Carsty Circle E| unliquidated
De Pere, Wi 54115 . Disputed
i n-ed Various
Da`e(s) debt was mm "_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
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Nama
v Nonpriority creditor's name and mailing address As of the petition tiling date. the claim is: Check all that apply. $88.00
Angela Berring _ |Il contingent
2494 Cypress Drive g Unliquidated
Saint Char|es, MO 63301 - .
_ Disputed
Date(s) debt was incurred Various
Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - No m ¥es
Nonpriority creditors name and mailing address As of the petition tiling date, the claim is: Check all that apply $376.24
Appiied industrial Tech, |nc |I] contingent
Vema Aucutt El unliquidated
PO Box 100538 - Dis ted
Pasadena, cA 91189-0538 p“
Date(s) debt was incurred Various Basis f°' "“’ °'ai"" -
Last 4 digits or account number_ ls the claim subject to offset? l No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $19,154.12
1 Armscor Cartridge lnc. El contingent
Darren Newsom, Michelle |:| Unliquida,ed
2872 US Hwy 93 - D_S med
North wctor, MT 59875 ' "
Date{s) debt was incurred Various Basis forma claim: -
Last 4 digits of account number_ ls the claim subject to offset? m No . Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $745.74
Arf SalaS n Contingent
10629 PlSCeS Pl. n Un|jquidajed
El Paso, TX 79924 l Disputed
Date(s) debt was incurred Various
°__ Basis for the C|aim: __
Last 4 digits of account number_
ls the claim subject to offset? - No U Yes
@ Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $83.68
Asotin County Landfill E} contingent
2901 Sixfh Avenue |:l Unliquidated
C|arkston, WA 99403 - Dispmed
Date(s) debt was incurred _ _ _
Basls for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
@ Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $13,479.63
Ater Wynne LLP E| contingent
1331 NW LovejOy, Ste. 900 I:| Unliquidated
Portland, OR 98209-3280 - Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No g Yes
|E| Nonpriority creditor's name end mailing address As et the petition filing date. the claim is: check all inelepply. $6,109.00
Automation Devices lNC |J contingent
Jim Winsche| E| unliquidated
7050 W. Ridge Rd. . .
_ Dis uied
Fairvrew, PA 16415 °
natets) debt was incurred Various Bas's f°"he °'a"“: -
Last 4 digits of account number _ IS the Claim $Ubj€€f f0 OffSS\? - ND n Yes
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Nam¢

Nonpriority creditor's name and mailing address
Automation Direct
PO Box 40241 7
Atlanta, GA 30384
Date(s) debt was incurred Various

Last 4 digits of account number _

 

As of the petition tiling date. the claim is: clear eli rlalaaely. $1,714.50
cl Contingent
E] unliquidated

l Disputed
Basis for the claim: _

ls the claim subject to offset? - No l:l Yes

 

|E Nonpriority creditor's name and mailing address
Avista Utilities
1411 E Mission Ave
Spokane, WA 99252
Date(s) debt was incurred Various

Last 4 digits ol account number __

As of the petition filing date, the claim is: check allthatapply. $1 8,669.12
n Contingent

|Il unliquidated

- Disputed

Basls forthe claim: _

ls the claim subject to offset? . No L_.I Yes

 

Nonpriority creditor's name and mailing address
Bailey Kristiansson, LLC
PO Box 104
Fulshear, TX 77441

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing datel the claim is: Check all thatapply. $0.00
El contingent
|J unliquidated

l disputed

Basis fortna claim: UCC 8201 711 892322; Terminated; For Notice
gurgoses only

ls the claim subjectto offset? - Ncl l:l Yes

 

Nonpriority creditor's name and mailing address
Barry Foster
7473 Rodebaugh Road
Reynoldsburg, OH 43068

Date(s) debt was incurred Various

Last 4 digits of account number_

As or the petition tiling date, the claim is: check ali irelapply. $40.00

m Contingent
El unliquidated

. Disputed
Basis for the claim: _

ls the claim subject lo offset? . No l:l Yes

 

Nonpriority creditors name and mailing address
Bear Hunting Medla
PO Box 168
West Fork, AR 72774

oate(s) debt was incurred Various
Last 4 digits of account number_

As of tile petition ming date. the claim is: Check all that apply. $2,650.00
m Contingent

E\ unliquidated

- Disputed

Basis for the claim: _

ls the claim subject to offset? - No cl ¥es

 

Nonpriority creditors name and mailing address
Berggren Fritz
5135 Neal Ranch Rd.
Colorado Springs, CO 80906

Date(s) debt was incurred Various
Last 4 digits of account number_

As of the petition filing date, the claim ls: Check all that apply. $283.50

l:l Contingent
D unliquidated

- Disputed
Basis for the claim: __

ls the claim subject lo ofBet? - No n Ves

 

Nonpriority creditor's name and mailing address
Big Canyon Evnironmenta|, LLC

815 D Street
Lewiston, lD 83501

Date(s) debt was incurred _
Last 4 digits of account number_

As of tile petition filing date, the claim is: Check all that apply, $0.00

cl Contingent
IIJ unliquidated

l Disputed
Basis for the claim: _

ls the claim subject to offset? - No l:l Yes

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Name
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: checked lhalapply. $73,61 1.54
Binary Anvil lnc. L`.l contingent
22525 SE 64th Place, Suite 257 El Unliquidated

lssaquah, WA 98027-5383
nate(s) debt was incurred Various
Last 4 digits of account number_

- Disputed
Basis for the claim: _

ls the claim subject to offset? l No |I| Yes

 

Nonpriority creditors name and mailing address As of tire petition filing date. ute claim ls: check all llel apply. $347.71
Bitterroot Bo|t & Chain Co. |] contingent
Orln Trlpiett El unliquidated

2522 4th Ave. North
Lewiston, |D 83501

oate(s) debt was incurred Various

- Disputed

Basis forthe claim: _

 

 

 

Last 4 digits of account number_ ls the claim subject to offset? - No \:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all trial apply. $11 8,000.00
Bitterroot Security & |nv. LL l'_`| Contingent
Tel'l’y Roberts El unliquidated
410 ch Street . Dis med
clarkston, wA 99403 °
Date(s) debt was incurred Various Basls for the cla'm: -
Last4 digits of account number_ ls the claim subject to offset? - No g Yes
Nonpriority creditors name and mailing address As of the petition tiling date. the claim is: client all lhal apple $8,212.21
B|ack Rier Coffee Company El contingent
381 West ll'OnWOOd Dl'. n Unj;quidaied
Salt Lake City, UT 84115 - Disputed
oate(s) debt was incurred Various _
___' Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No \:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $63.00
Blake Brockman E| contingent
7400 Center Ave., Apt. 317 [] unliquidated
Cerrlfos, CA 90703 - Disputed

Date(s) debt was incurred Various
Last 4 digits of account number _

Basis for the claim: __

ls the claim subjecl to offset? . No cl Yes

 

Nonpriority creditor's name and mailing address As of the petition filing datel the claim'is: Check all that apply. $8,350.37
B|ue Cross of ldaho |J contingent
PO Box 6948 E| unliquidated
Boise, |D 83707 - Disputed

Date(s) debt was incurred Various
Last 4 digits of account number_

Basis for the claim: _

ls the claim subjectto offset? - No l:l Yes

 

3.47 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhalapply. $1,033.68
B|ue Mountain Containers t'_`l Contingent
Brandon Dean El unliquidated
PO Box 1859 - mspqu

Lewiston, |D 83501
Date(s) debt was incurred Various
Last 4 digits of account number _

Basis for the claim: _

ls the claim subject to offset? - No l:i Yes

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Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply, $9,538.31
B|ue Ribbon Supply inc E| contingent
PO §0)¢ 793 I:l Unliquidated
Lewiston, |D 83501 l .
. Disputed
oate(s) debt was incurred Varlous
Basis for the claim:
Last 4 digits of account number_ _
ls the claim subject to offset? - No l:l ¥es
3.49 Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $2,000.00
Bosnian Austrian Security Serv
Nedzib Bungul' n Contingent
Debe|o Brdo 43 El unliquidated
70 009 Sat'a]evo l . Disputed
Bosnla and Herzegovlna
Date(s) debt was incurred Various Basls for ma claim: "
Last 4 digits of account number ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply $2,500.00
Brand Ava|anche Media, LLC. E| contingent
T|`aVlS HOl'fOl`\ m Unliquidated
4343 16th Ave., #161 . Dis med
Moline, ll_ 61sz "
Date(s) debt was incurred Various Basis for the claim: -
Last 4 digits of account number_ ls the claim subject tl:l offset? - No n Yes
|E Nonpriority creditol’s name and mailing address As of the petition filing date. the claim is: Check all that apply. $39,700.00
Brand Makel'$ LLC n Contingent
:$b;l’ N:Vl';de" S ij unliquidated
out ain t. - .
. Dls uted
spanish Fork, uT 84660 ”
Date(s) debt was incurred Various Basis for the claim: _
Last 4 digits of account number_ lS the Clalm Sub]'ecll° offset? - N0 n Yes
@ Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhalapply. $165.30
Brandon Kobberdah| Ei contingent
15357 67th Ave. Notth E| unliquidated
Maple Grove, MN 55311 - Disputed
bate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No |I] Yes
@ Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all mal apply. $19.68
Brian Eiledge |:I contingent
17451 SE Ten Eyck Rd. l:l Unliquidated
Sandy, OR 97055 - Disputed
n d ht l rred Various
me(s) e was ncu _' Basis for the claim:_
Last 4 digits of account number_
is the claim subject to offset? - No l:\ Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all lhal apply. $4,623.59
Brian McViclters |:l contingent
3035 N. Tarra Ave., Suite 1 E| unliquidated
Prescott, AZ 86301 - Disputed
l Various
mem debt was "°""°d __- Basis for the claim: _
Last 4 digits of account number _
ls the claim subjectto offset? l No El res
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NZ|‘|\B
151 Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $230.20
Bryce Kidd _ U Contingent
3213 Lew wallac& Drlve n unliquidated
Clovis, NM 88101 - _
_ Disputed
oate(s) debt was incurred Various
_ Basis for the claim:
Last 4 digrts of account number_ _
ls the claim subject to offset? - No l:l Ves
Nonpriority creditol’s name and mailing address As of the petition filing date. the claim is: Check all that apply. $344.78
' B`uchanan Automation inc E| contingent
Po B°X 1249 |Ii unliquidated
Snohomlsh, WA 98291 .
_ - Disputed
oate(s) debt was incurred Various
Basis for the claim:
Last 4 digits of account number_ _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,273.25
C.Bennett Services, inc [J contingent
20 B°X 2;;277410 E| unliquidated
ypress’ _ l Disputed
Date(s) debt was incurred Various
'_ _ " Basis forthe claim: __
Last 4 digits of account number _
ls the claim subject to offset? - No n Ves
Nonpriority creditor's name and mailing address As of the petition fiflng date, the claim is: Check all thatapply. $64.12
Camp Cabin & Home E| contingent
2119 4th Ave. North Cl unliquidated
Lewiston, lD 83501 l Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No E| Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all lhal apply $1 5,800.00
Canon l:\ Contingent
One Canon Park EJ unliquidated
Melvllle, NY 11747 . Disputed
d tit ' ned Various
Date(s) e was mcu ____ Basis for the claim: _
Last 4 digits of account number __
is the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply, $14,544.25
Canon Financial Serivces El contingent
14904 Coilections Center Drive El unliquidated
Chlcago, lL 60693-0149 - Disputed
' d Various
Date(s) debt was mcurre Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhalapply. $2,589.37
Canon Solutions America ij contingent
15004 Co|lections Center Dr. |:] unliquidated
Chlcago, lL 60693 - Disputed
' V rious
Date(s) debt was lncurred a Basis for me claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No El Yes
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Name

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Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $158,880.15
Capital Cartridge LLC L_.l contingent
Brian _ _ _ Ei unliquidated
9702 Wal|lsvt||e Rd., Suite B l Disputed
Houston, TX 77013
oate(s) debt was incurred Various Basis f°' "‘° °'a"": -
Last 4 digits of account number _ |s the claim subject to offset? n No . Yes
Nonpriority creditors name and mailing address As or the petition filing date, the claim ls: creek almarappiy. $37,372.46
Capital 0ne Visa Statement El contingent
PO B°X 302_85 E| unliquidated
Salt Lake Clty, UT 84130 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No U Yes
3.64 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $10,321 .46
Cascade Columbia Distribution ij contingent
G"eg SW'¢ZE" El unliquidated
6900 Fox Ave. . Dis med
south seattle, wA 98108 ”
Date(s) debt was incurred Various Basls for the claim: -
Last 4 digits of account number_ ls the claim subject to offset? - No El Yes
Nonpriority creditors name and mailing address As of the petition filing date. the claim is: cheek all that apply. $1,443.37
Catalyst Medica| Group [J Contingent
Christine Thomas |:j Unliquidated
2315 Bth Street l
. D` tried
Lewiston, lD 83501 '5"
Date(s) debt was incurred Various Basis for the claim: '_
Last 4 digits of account number _ l$ the C|Bim Subj'ecl to Off$et? - NO n Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: check all that apply. $1,657.87
CED - Consolidated Electrica| l:| contingent
Terry, Gaye I:| unliquidated
PO Box 398855 - Disputed
San Francisco, CA 94139-8855
Date(s) debt was incurred Various Basls for the cla'm: _
Las, 4 diggs of account number_ is the claim subieoito offset? l No El Yes
Nonpriority creditor's name and mailing address le or the petition tiling date, the claim is: crack all rnaiapply. $562.21
Cel'lful'y Link l:l Contingent
PO B°X 91155 El unliquidated
Seattle, WA 98111 . Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No m Yes
Nonpriority creditor's name and mailing address As of the petition iiling date. the claim is: Check all that apply. $820.37
Century Spring Corp |`_'l contingent
231274 Momentum Pl. m Unijqujda\ed
Chtcago, lb 60689 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
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Name
m Nonpriority creditor's name and mailing address v of the petition filing date. the claim is: Check all that apply. $0.00
Chad Rager |Il contingent
;7259||€?|?“¢V(/it20132 n unliquidated
ur vt
ce e’ l Disputed
Datc(s) debtwas incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply $2,148.74
Charter Business - 25 Stokes |:l contingent
fo Bl:,x 6(|)‘|BBCA 90060 g unliquidated
e
°5 "9 es' _ l Disputed
nate(s) debt was incurred Various
___ Basis for the claim:
Last 4 digits or account number_ "
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all tltatapply. $2,905.47
Chemeta|l - Oakite Products, | El contingent
Hans Juergensen |:| Unllquldaled
22040 Network P|ace -
. D' uted
chicagc, ll. 60613-1220 "'"’
Date(s) debt was incurred Various Basis for the claim: -
Last 4 diggs of account number_ ls the claim subject to offset? . No l:l Yes
3.72 Nonpriority creditors name and mailing address As of the petition filing dcte, the claim is: check elmer apply. $2,588.17
Chemithon Surface Finishing, l El contingent
Dale Flinchbaugh |:l unliquidated
5430 W. Marginal Way SW -
Dis uted
seattle, wA status "
Date(s) debt was incurred Various Bas‘s f°' "‘° °"""“ -
Last 4 digits of account number _ ls the claim subject to offset? l No l:l Yes
3.73 Nonpriority creditors name and mailing address As or the petition rising date. the claim is: check all lnatepply. $4,828.51
Chemix Corp. l:l Contingent
412 E. Commonwealth Ave., Ste. 1 E] unliquidated
Ful|erton, CA 92832 . Disputed
nate(s) debt was incurred Various ,
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Chris Hayes E| Contingent
362 Reservoir Drive l:| unliquidated
Lewiston, |D 83501 - Disputed
' rred Various
Date(s) debt was men _'_ Basis for the claim: _
Last 4 digits of account number _
ls inc claim subject to oilset? l No E| Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $592.09
Chris James El contingent
4020 Preserve Crossing Lane ij unliquidated
Cummlng, GA 30040 - Dispmed
Date(s) debt was incurred ”' Basis for the claim: _
Last 4 digits of account number _
ls the claim subject tc offset? l No l'_`| Yes
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Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all llratapply. $700.00
Chris WOOd n Contingent
;z:tshe&l:|zkz:;aza l'_`l unliquidated
°n’ 7 l Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thal apply. $22.09
Chri$fial'l Domagall EI Contingent
4121 98th Ave. NE n unliquidated
. l .
Clrc e Plnes, MN 55014 - Disputed
Date(s) debt was incurred Various
____ Basis for the claim: _
Last 4 digits of account number _
ls the ciaim subject lo offset? - No m Yes
3.78 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $169.00
Christopher Koolhof El contingent
11965 Norman Lane [] unliquidated
Aubul'n, CA 95603 . Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
3.79 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Checkall that apply. $50.00
City of Cameron |:l contingent
City of cameron l:] Unliquidated
PO Box 8332 - Disputed
Cameron, TX 76520
Date(s) debt was incurred Various Bas'S f°'"‘e claim: -
Last 4 diggs of anoqu number_ ls the claim subject lo offset? - No U Yes
Nonpriority creditor's name and mailing address As or tire petition filing date, the claim is: check alrtnar apply $77.39
City of Jersey Vi||age El contingent
16501 Jersey Drive l:l unliquidated
Jersey Vr|lage, TX 77040- l Disputed
Date(s) debt was incurred Various _
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No m Ves
3.81 Nonpriority creditor's name and mailing address As of the petition liling date, the claim is: Check all that apply. $3,349.22
City Of Lewisfon n Contingent
PO box 617 E| unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred w
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $18.00
C|arkston Auto & Truck Parts ij contingent
507 Third SL El unliquidated
Clarkston, WA 99403 - Dispmed
Date(s) debt was incurred Various
___ Basls for fha C|aim: _
Last 4 digits of account number _
ls the claim subject to offset? . No m Yes
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Narne
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $378.56
C|ayton Hewitt l:| contingent
§509 N Sg°a"n\:(;e£lllgs E| unliquidated
al'lSaS l
ty’ _ . Disputed
Date(s) debt was incurred Various
_ Basis for the claim:
Last 4 digits of account number _ _
is the claim subject to offset? l No El Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all lhal apply. $19,282.94
Ciean Harbors Env. Services In |I| contingent
Po B°x 3442 E`l unliquidated
Bostonl MA 02241-3442 - .
_ Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No Cl Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhal apply. $0.00
Clearwater Bu|let, lnc. I:l contingent
153 Southport Ave., Bui|ding 4 |:| unliquidated
L .
ewiston, |D 83501 - Disputed
Date(s) debt was incurred
_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all lhalapply. $90.00
Cleanlvater Medica| Clinic El contingent
1522 17th Street ij unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
3.87 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: cheek all met apple $1,126.57
C|earwater Propane E| contingent
Po BOX 675 [:l Unliquidated
Lewiston, lD 83501 - Disputed
Date(sl debt was incurred Various
__' ' ' Basis for the claim: _
Last 4 digits of account number __
ls the claim subject to offset? - No n ¥es
3.88 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: check all that apply $561 .83
CNC Pros |ntemational, |NC El Contingent
1582. E. Bramble Ln. l:l unliquidated
Meridian, lD 83642 - Disputed
b l d Various
Date(s) de twas flaum Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhalapply. $118.04
Coleman Oil Company |:l contingent
PO Box 1308 lIl unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred Various
' __ Basis for the claim: _
Last 4 digits of account number _
is the claim subject to offset? l No m ¥es
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Name
Nonpriority creditors name and mailing address As of the petition ming date, the claim is: clear e/ltnatapply. $57,984.75
Col|ler Electric I:l Contingent
Bryan & Laura Col|ler g undquidated
1119 Van Arsdo| -D. ted
clarkston, wA 99403 's"“
Date(s) debt was incurred Various Basis f°rthe claim: -
Last 4 digits of account number_ ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all lhatepply. $12,670.30
Columbia Electric Supply |Il contingent
Nate, Rusty, Eric, Josh, Jason |:| Undquidated
8100 NE ST. Johns Rd., E 102 - D. t d
Vancouver, WA 98665 'spu e
oate(s) debt was incurred Various Basis f°' "'° °'ai"" -
Last 4 digits of account number_ lS the Claim Subj'e€t to foset? - NO n Yes
Nonpriority creditor's name and mailing address As ofthe petition filing date, the claim is: cheek all mel apply. $282.15 ~
Comcast El contingent '
PO Box 660618 E| unliquidated
Dal|as, TX 75266 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Comcast Business El contingent
go B;>X aaa El unliquidated
eatt e, 124 - Dispmed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address l-'L~; of the petition filing date, the claim is: Check elllhal apply. $47,185.68
Comm Trade USA, lnC n Contingent
1934 West Gray SL, Ste. 200 |:| Unliquidated
Houston, TX 77019 - Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No U Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $1 ,880.00
Community impact Newspaper l:l contingent
16225 lmpact Way, Ste. One ij unliquidated
Pflugervllle, TX 78660 - Disputed
oate(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No ij Yes
As of the petition ming date, the claim is: check all that apply. $0.00

Nonpriority creditor's name and mailing address
Complete Capita| Services, lnc.
22811 Greater Mack Ave., Ste. 203
Saint Clair Shores, Ml 48080

Date(s) debt was incurred _
Last 4 digits of account number _

l:l Contingent
El unliquidated

. Disputed

Basis for the claim: Various machineg and tools: sgindle; tool l'iolder'l

turning tool; drill body
ls the claim subject to offset? . No l:l Yes

OfEcial Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims

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Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $1 1 1 ,434.80
Components Exchange El contingent
Molly K _ El unliquidated
21530 Buckskm Ln. - D_ med
Peck, lo 83545 'S"
Date(s) debt was incurred Various Basis f°' the claim: -
Last 4 digits of account number _ is the Claim Subjet:t to offset? L_..l No . ¥es
W Nonpriority creditor's name and mailing address As of the petition liling date, the claim ls: Check all that apply. $0.00
Components Exchange, LLC El contingent
315 _Dtstrefl; 83501 m Unliquidated
erS on
' l Disputed
Date(s) debt was incurred _ .
- Basis for the claim: For notice gurgoses only
Last 4 digits of account number _
ls the claim subject to offset? m No - ¥es
Nonpriority creditor's name and mailing address As of the petition tiling date, the ciaim is: check all that apply. $435.14
Comstock Propane inc El contingent
is Milescl:!d. El unliquidated
arson lty, NV 89706 l Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: check all that apply. $1,045.30
Concept Automation Systems E| contingent
Debbie B¥"d El unliquidated
3633 Research Way, #101 . .
. Dls uted
Carson City, NV 89706 p
Date(s) debt was incurred Various Basls for the clalm: -
Last 4 digits of account number _ is the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all trial apply $0.00
Corporation Service Company, as Rep El contingent
Attn: Legal Dept. E| unliquidated
PO Box 2576 - .
. Dls uted
spnngiield, iL 52708 "
oatelsl cent was incurred ucc 20160095207c B“‘S '°' “‘° °'“‘"“ -
Last 4 digits of account number ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,600.00
Covert Madison El contingent
3004 Hubbartd P|ace |Il unliquidated
New Smyrna Beach, FL 32168 . Disputed
Various
Date(s) debt was incurred Basis for me claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
3.103 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all lhatapply. $120.00
Craig Draper E| contingent
8842 W Mornin Mist St. Ei unliquidated
Boise, lD 83709 - Disputed
' Various
Date(s) debt was matured __" Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n Yes
Ofticial Form 206 ElF Schedule ElF: Creditors Who l~lave Unsecured C|aims Page 40 of 79
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Nonpriority creditofs name and mailing address As of the petition filing date, the claim is: Cher ali ihaiapply. $105.50
Creason, Moore, Dokken & Geid| I:l contingent
PO |_3°" 835 L'.l uniiquidaied
Lewiston, |D 83501 - _
Disputed
natqu debt was incurred Various
Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - Nn l] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all ihaiapply. $473,476.29
Crow Shooting Supply |:l Contingent
300 ?. Front 18;.80171 lIl unliquidated
on ezuma
' _ - Disputed
Date(s) debt was incurred Val'lO\.lS
Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
3.106 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: check allihai apply $739.33
Cul|igan, LLC. El contingent
50 B°X 81|3§283843 E| unliquidated
0
s°°w' l Disputed
nate(s) debt was incurred Various
"""_' " Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n ¥es
3.107 Nonpriority credito\’s name and mailing address As of the petition liling date, the claim ls: Check all ihai apply $177.60
Custom Fluid Power |nc |:\ Contingent
?g(;;§nNB:ueli(sl Bl d S 1 n Unfiquidaled
ran in v . te. . ,
D llde
Nampa, in 83687 'S"
Date(s) debt was incurred Various Basls for the claim: -
Last 4 digits of account number_ ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thai apply. $1,217.00
Custom MasterIFlo King El contingent
VALER|E E] unciquidaied
401 Lake Bennett Ct. - _
Dls uted
Longwood, FL 32750-6341 "
oate(s) debt was incurred Various Bas's '°' the °'a"m -
Last 4 dig-ns of account number _ ls the claim subject lo offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check ali rhaiapply. $5,400.00
DaJo Trucking, lnc. l:l Contingent
4093 Lucky Lane El unliquidated
Lewiston, lD 83501 . Disputed
Date(s) debt was incurred w _ _
Basls for the claim: _
Last 4 digits of account number _
is the claim subject to offset? l No |:| Yes
As of the petition filing date, the claim is: Check all that apply. $2,085.00

Nonpriority creditor's name and mailing address
Dang|ers lnc.
35 Oakdale Ave.
Johnston, R| 02818

Date(s) debt was incurred Various
Last 4 digits of account number_

l:| Contingent
m Unliquidated

- Disputed
Basis forthe claim: _

ls the claim subject to offset? . No cl Yes

 

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Name
Nonprioth creditol’s name and mailing address As of the petition filing date, the claim is: Check alithel apply. $77.00
Daniel Atkinson E| Contingent
"'|5_840 N V:"Ze 85719 El unliquidated
UCSOI'|
’ l Disputed
Date(s) debt was incurred Various
" __ Basis for the claim:
Last 4 digits of account number_ _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: check all that apply. $46.04
Darcy Richard n Confjngenf
91 Wynnew°°d Cf- E| unliquidated
Freeho|d, NJ 07728 . .
_ Disputed
Date(s) debt was lncurred Various
Basis forthe claim:
Last 4 digits of account number_ _
ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: Check all that apply. $529.27
David Chang l:l contingent
412 Foxcroft Circle |:| Unliquidated
R
oyersford, PA 19468 . - Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
lsthe claim subject to offset? - No l:l Yes
3.114 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $435,262.98
David Howell U contingent
PO Box 1903 El unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Varlo|.ls
____ Basis for the claim: _
Last 4 digits of account number_
ls me claim subject to offset? l No E] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhal apply. $41 .60
David Lane El contingent
8850 Chumash Ln El unliquidated
Riverslde, CA 92509 - Disputed
Date(s) debt was incurred Various
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No ij Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 51.24
Davis Brian El Contingent
1056 Creekside Ct., Unif 1A m Unliquidated
Whee|lng, lL 60090 . Disputed
' rred Various
Date(s) debt was '"°u __ Basls forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:\ Yes
3.117 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $8,710.1 3
Dayton Lamina E| contingent
500 Progess Road El unliquidated
Dayton, OH 45449 - Disputed
Date(s) debt was incurred V_ario_l.l$_ _
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No m Yes
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3.118 Nonpriority creditor's name and mailing address ks of the petition filing date, the claim is: Check ali that apply. $60.00
Deburring Equipment Manufactri l:l contingent
T'M _ |J unliquidated
3248 Hlllside Ave. . D. ted
Norco, cA ezaso ‘s"“
oatc(s) debt was incuned Various Basis f°" "‘e °'a‘"“ -
Last 4 digits of account number _ ls the C|aim subject to offset? - No l:l Yes
3.119 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alirhai apply $5,81 1.00
Deductib|e Recovery Group |:j Contingent
Ame Ja"aszek |ZI unliquidated
PO Box 6068-01 - ms med
Herrnitage, PA 16148-1068 "
Date(s) debt was incun'ed Various Basis f°' me claim: -
Last 4 digits of account number _ ls the claim subject to offset? . No l:l Yes
3.120 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $1,000.00
Derek Jump n Contingent
33 V'\`l. Wi|scilire gaicl]é_‘$‘lt:$ite 114 [] Unliquidated
a cma lty' _ - Disputed
Date(s) debt was incurred Varlous
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No n Ves
3.121 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali ihatapply. $18,805.00
Die-Namic, inc E| contingent
Sue Leonard |:l unliquidated
PO Box 30516, Dept. 7006 -
. D' ted
Lansrng, Ml 48909-8016 '5"“
Date(s) debt was incurred Various Basis for me claim: -
Last 4 digits of account number_ ls the claim subject fo offset? - No l:l Yes
Nonpriority creditors name and mailing address As of ute petition filing date, the claim is: cheat ali mar apply $23.25
Doug|as Newton l:l contingent
2400 W. Morrell l:l unliquidated
Jackson, M| 49203 - Disputed
Date(s) debt was inclined Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject lo offset? - No n ¥es
Nonpriority creditors name and mailing address As of the petition iiiing date, the claim is: check eli that apply $126.43
Ea$f Side Plating m Contingent
Debbie Berg|and l:| unliquidated
8400 SE 26th P|ace - .
Dls uled
Portland, oR 97202 "
nate(s) debt was incurred Various Basls f°' "‘° °'ai"“ -
Last 4 digits or account number is the claim subject to offset? l No El Yes
Nonpriority creditors name and mailing address As of tire petition ming date, the claim is: creek ali that apply. $99,019.48
Elf'lil' Hidir cl Contingent
1382 Sokak 813 n Unliquidated
A|sancak lsmir - ,
Dls uted
Turkey 35220 "
oate(s) debt was incurred Various Basis f°" me °'a"“: -
Last 4 digits of account number_ is the claim subject to offset? l No El lies
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Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhalapply. $0.00
Emir Hidir |:| Contingent
li§§.§§'t§°l§i'ii E““"““'““‘°`“
Turkey 35220 . Disputed
Date(s) debt was incurred Various Basis forma claim: -
Last 4 digits of account number_ ls the claim subject to offset? - No cl Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all thatapply. $0.00
E"gin Hidir n Contingent
1382 Sokak 813 n unliquidated
Aisancak lsmir - Disputed
Turkey 35220
Date(s) debt was incurred Various Basis for the claim: -
Last 4 digits et account number_ ls the claim subject to offset? l No E| Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alllhal apply. $26,500.00
Environ-Metal, lnc. l:| Contingent
Tina Larsen-Sales Rep t|arson@hevishot 1:| unliquidated
1307 C|ark Mill Street . Disputed
Sweet Home, OR 97386
Date(s) debt was incurred Various Basis for the claim: -
Last 4 digits of account number_ ls the claim subject to offset? n No - Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Ef'ic Nelson l:i Contingent
2104 14th Street n Unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No E| Yes
Nonpriority creditors name and mailing address As cf the petition tiling date, the claim is: check eli mal apply $15,598.09
eShipping LLC l:i contingent
.ll>¢(a:saica g?lg§;;y l'_`| unliquidated
chica;xo, lL 60677-5332 - Disputed
Date(s) debt was incurred Various Basis f°" me °'a'"" -
Last 4 didns cf account number _ ls the claim subject to offset? l No n ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $15,473.52
Estes Express Line 13 contingent
PO BOX 25612 n Unliquidated
Richmond, VA 23260 - Dispu!ed
Date(s) debt was incurred Varlou$ Basis far the claims _
Last 4 digits of account number
_ ls the claim subject to offset? l No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all matapply. $2,655.00
Falkor Defense El contingent
;;:)EZBLT|S| H 93 N rfh m Unliquidated
Kalispall, tug 5991§ l Dis"“‘ed
oate(s) debt was incurred Various Basis f°' me °'ai"" -
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
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Narne
Nonpriority creditor's name and maillng address As of the petition filing date, the claim is: Check all that apply. $0.00
Fastenal Company |j Contingent
5301 Theh\;|§g:;‘g- |:l unliquidated
ll'l°l'la
' - Disputed
Date(s) debt was lncuned _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
3.133 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: check all that apply. $318.68
Fastena| NVCAR071 5 |Il contingent
CVO Box 1§:|65598 2 |J unliquidated
mona, 7-1 86 _ . Disputed
Date(s) debt was incurred Various
- Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No m Yes
3.134 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,101 .31
Fastenal NVCAR0796 l:l Contingent
cvo B°X 1235 El unliquidated
mona, MN 55987 n l Disputed
Date(s) debt was incurred Varlol.ls
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject lo offset? - No g ¥es
@ Nonpriority creditors name and mailing address As of the petition filing date, the claim ls: check all that apply. $762.35
Fastel’lal WACOV241 8 l:l Contingent
PQ B°X 1236 l:l unliquidated
Winona, |D 83501 . Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject lo offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,006.1 0
FedEX Fl’eighf l:l Contingent
Dept CH El unliquidated
PO Box 10306 . .
. Dls uted
Palaune, lL 60055 ‘°
. l :
Date(s) debt was incurred Various aas's '°'"‘° ° aim -
Last 4 digits °¢ account number _ ls the claim subject lo offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $629.64
Fisher Systems El contingent
2117 12th Ave. El unliquidated
Lewiston, lD 83501 - Disputed
' ned Various
oat°(s) debt was '"°" '_ Basls for the claim: _
Last 4 digits of account number_
is the claim subject to offset? l No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $50.00
FMG Publications El contingent
12345 World Trade Drive |] unliquidated
San Dlego, CA 92128 - Dispmed
Various
Date(s) dam was incurred _ Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
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Narne
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all rhalapply. $23,493.50
Fort Worth Engirieering l:| contingent
§50 Gr:p|evi¥; ;:{t)i(l;o El unliquidated
enl'le a e
' l Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply $11 6.25
Francisco Maga|lanes l:| contingent
:5_778 grizal')`a gxe. l:l unliquidated
ong eac , 90805 l - Disputed
Date(s) debt was incurred Val’lous
Basls for the claim: __
Last 4 digits of account number _
ls the claim subject lo offset? . No n ¥es
3.141 Nonpriority creditor's name and mailing address M of the petition filing date, the claim is: Check all tliatapply. $7,000.00
Frasier Transport lnc. l:l contingent
:r;!ly EBeE" t_ A n Unliquidated
. XeCLI lVe Ve. . .
ed
Nampa, in 83687 D's"“‘
Date(s) debt was incurred Various Bas's f°""° °'ai"" -
Last 4 digits of account number_ ls the claim subject to offset? - No m \'es
3.142 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Freedom Munitions, LLC l:| contingent
815 P Street l:l Unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply, $2,033.86
Freight Quote.com l:| contingent
Derek Wiles, Rep El unliquidated
PO Box 9121 - .
. . Dis uted
Minneapo|is, MN 55480-9121 p
Date(s) debt was incuned Various Basis f°"h° dam -
Lasi 4 digits of account number _ ls the claim subject to oliset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $1 8,330.31
Fuqua Park Row, LLC
ClO Mike Little l:l Contingent
J.M. Little Attorney at Law, P.C. El unliquidated
5718 Westheimer, Suite 1840 - Disputed
Houston, TX 77099
. Basis forthe claim: _
bate(s) debt was incurred Various
Last 4 digits of account number_ ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition iillng date, the claim is: Check all thatapply. $100.41
Gary's Poo| & Spa Service LLC El contingent
11 13 14th Ave. Cl unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debtwas incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
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Narne
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all lhatapply. $750.00
GatorMan Bartow El contingent
5805_ ivey Lane Ei unliquidated
Hahlra, GA 31632 - .
_ Disputed
Date(s) debt was incurred Various
Basis for the claim: __
Last 4 digits of account number _
is the claim subject to offset? . No m Yes
3.147 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all theraple $2,034.53
Genera| Tool & Supply Co. [J contingent
116 91:1 5f';‘:)9;3501 El unliquidated
erS Ol'l
’ _ l oisputed
nate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
is the claim subject to offset? . No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $524.57
George's Lock & Kew Service [J contingent
1728 Mail'l Street n Unliquidated
Lewiston, lD 83501 . Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? - No m ¥es
3.149 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check arithat apply. $359.94
Globa| industrial [_'.l contingent
Brian El unliquidated
29833 Network Pl. -
Dls uled
chicago, lL 60573 ”
Date(s) debt was incurred Various Basis forma claim: _
Last 4 digits of account numbe,_ is the claim subject to offset? - No m ¥es
3.150 Nonpriority creditors name and mailing address As ct the petition ming date, the claim is: cheek ailinatapply. $1,582.64
Goldenwest Lubricants |:l contingent
Mitzy Macias L'.l unliquidated
1937 Mount Vernon Ave. - .
Dls uted
Porncna, cA 91768 "
Date(s) debt was incurred Various Basis forma claim: _
Last 4 digits of account number ls the claim subject lo offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all trial apply. $29,793.00
Gordon Partners E| contingent
4900 Woodway Drive #1 125 |j unliquidated
Houston, TX 77056 . Disputed
l d Various
Date(s) debt was hume ___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject lo offset? - No Cl Yes
Nonpriority creditor's name and mailing address As of the petition tiiing date, the claim is: Check all that apply. $2,174.1 1
Grainger El contingent
Linda Fetuu El unliquidated
PO Box 419267 - .
. Dls uted
Kansas city, Mo 64141 "
. l 2
nate(s) debt was incurred Various Basis f°"h° c aim _
Last 4 digits of account number _ ls the claim subject to offset? - No n Yes
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3.153 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Checkall thatapply. $1 19.99
Greenia Matt E| contingent
588 Ttmberland Drive EI unliquidated
Atlanta, GA 30342 - ,
_ Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to oli‘sei'.7 - No l:l Ves
3.154 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all that apply. $833.91
Gregory Tappan IJ contingent
§§ B°X55R597383 E| unliquidated
Dl'l
yt ' _ . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number __
ls the claim subject to offset? l No El Yes
3.155 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all inatapply. $10,602.32
Guardian Heating E| contingent
329 16th A|VDe- El unliquidated
ewiston, 83501 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
Nonpriority creditofs name and mailing address As of the petition filing date, the claim is: check ali that apply. $2,934.66
GunsAmerica LLC E| contingent
5930 Royal Ln., Ste. E |:l unliquidated
PMB 329, TX 75230 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
3.157 Nonpriority creditor's name and mailing address As of the petition ti|ing date, the claim is: Check allthatapply. $1,320.00
Hahn Supply, lnc. E] contingent
2101 Main Street E| unliquidated
Lewiston, lD 83501 - Disputed
i d Various
Date(s) debt was mims _ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali thatapply. $23.25
Hammond Fredrick El contingent
9802 Mage|lan Drive |:l unliquidated
Key Largo, FL 33037 - Disputed
Date(s) debt was incurred MS_
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No \:l Yes
Nonpriority creditot’s name and mailing address As of the petition filing date, the claim is: Check alithaiapply. 571 5.95
Hampton |nn & Suites Carson Ci |:| contingent
10 Hospitality Way El unliquidated
Carson City, NV 89706 l Disputed
n d tit i d Various
a‘e(s) e was ncu"e ___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
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Nonpriority creditoi’s name and mailing address As of the petition filing date, the claim is: Check ali thatapply. $1 ,188.13
Hangtown Range |'_'J Contingent
Hangt°‘”" Range E| unliquidated
1540 Broadway - D_
Placerville, cA 95657 'S"“‘e"
Date(s) debt was incurred Various Basis f°' the claim: -
Last 4 digits of account number _ ls the Claim Subject to offset? - Nu g ¥es
3.161 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ailthat apply. $40.48
Henry Th_omas l:] Contingent
21 Churclll Downs Drive ij unliquidated
St. Peters, MO 63376 - .
_ Disputed
Date(s) debt was incurred Various
Basis for the claim:
Last 4 digits or account number _ _
|s the claim subject to offset? - No L_.\ Yes
3.162 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check allinai apply. $365.45
Heriberto Martinez |Il contingent
l1qu Vci!sta R:A 19610 E| unliquidated
93 l¥'l
g’ _ . Disputed
oate(s) debt was incurred Various
__ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
3.163 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $351.25
High Sierra Business Systems ij contingent
2814 N Carson St. ij unliquidated
Carson City, NV 89706 l Disputed
Date(s) debt was lncurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No ij Yes
3.164 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check author apply. $58,977.85
Howell Construction |:l contingent
29978 Thiessen Road E] unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred Various _
Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No m ¥es
3.165 Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $0.00
Howell Machine, lnc. l:l contingent
815 D Street |Il unliquidated
Lewiston, |D 83501 - Disputed
D d bt l d
ate(s) a was ncurm " Basis for the claim: _
Last 4 digits of account number _
is the claim subject to offset? - No l:\ Ves
3.166 Nonpriority creditors name and mailing address As of tne petition filing date, the claim is: check all that apply. $0.00
Howell Munitions & Technology, lnc. |:l contingent
815 D Street I:l Unliquidated
Lewiston, lD 83501 - Disputed
i
Date(s) debt was owned _ Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? - No m Yes
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Freedom Munitions, LLC Case number (il inom) 1a.50615-b1b
Name
3.167 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai/thatapply- $323.61
Huber Action Freight L'_| Contingent
PO Box 709 l'_'l unliquidated
Colfax, WA 99111 - .
_ Disputed
Date(s) debt was incun'ed Various
_ Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali thatappiy. $40,621 .70
lMC-Mefal$ America, LLC m Contingent
Marcia Melocik, Donna L_.| unliquidated
99 E. River Dr., Riverview Square 2 - D.s ted
East Harrrord, cT 06108 ' "“
Date(s) debt was incurred Various Basis for me claim: -
Last 4 digits of account number _ ls the claim subject to offset? . No n Yes
3.169 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $353.16
industrial Hearing Service lnc. |] contingent
12021 NE Summel' St. m un"quidated
Po and OR 9722
m ’ o _ - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No l:i Yes
3.170 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all metapply. $90.00
inland NW Metal|urgical Services U contingent
16203 E Marietfa Ave n unliquidated
Spokane, WA 99216 - Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l ¥es
3.171 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all thatapply. $3,124.25
lnstructure inc l:| Contingent
6330 S. 3000 Easf, Ste. 700 l:\ unliquidated
Salt Lake Cltyl UT 84121-6237 - Disputed
Date(s) debt was incurred Various _
_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check a!i that apply. $0.00
integrity Bank, SSB El contingent
4040 Washington Ave. El unliquidated
Houston, TX 77007 - Disputed
D t d bi f fred
a e(s) a was nw " Basis forthe claim:_
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $28.00
isaac Jacks El contingent
19 Maplecrest Dr. ij unliquidated
Charleston, SC 29412 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
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Name
3.174 Nonpriority creditor's name and mailing address As of tile petition filing date, the claim is: check all lnalapply. $145.73
Jack Landis El contingent
$16_5 ?a"fglrc'ggi;_, CI unliquidated
efll'\ On
g ' . Disputed
Date(s) debt was incurred Various
Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - No l:l Yes
3.175 Nonpriority creditors name and mailing address ns of the petition filing date, the claim is: check all thalspply. $1 6,000.00
Jagemann Stamping Company lIl contingent
$795°779“? lgay:’°usr:e El Unliquidated
. US er - .
Manitowoc, Wl 54220 Disputed
Date(s) debt was incuned Various Basis for the claim: -
Last 4 digits ct account number _ is the claim subject to oilscl? l No C| Yes
3.176 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check allihai apply. $0.00
Jansen Jones l'_'l contingent
3790 Fo°thlu Drive n uniiquidaled
Lewiston, lD 83501 d - Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls thc claim subject to offset? l No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all trial apply. $700.00
Jefi Carson El contingent
2320 Commerce Street |_'_| Unliquidated
Tacoma, WA 98402 - Disputed
Date(s) debt was incurred
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
3.178 Nonpriority creditor's name and mailing address As of the petition tiling date. the claim is: Check all that apply. $1 17.08
Jeff MCClail'\ n Contingent
5147 Canary Lane |:| unliquidated
Nampa, |D 83687 - Disputed
Date(s) debt was incurred Various _
Basls for the claim: _
Last 4 digits of account number_
ls the claim subjectto offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $‘l 75.04
Jeffrey Romanowski Cl contingent
6569 Kali Dr. El unliquidated
Eldersburg, MD 21784 - Disputed
Date(s) debt wasincurred Various _
' Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
As of the petition filing date, the claim is: check all lhatapply. $1,153.10

Nonpriority creditor's name and mailing address
Jeremy Buck
12405 S. Alcan St.
Olathe, KS 66062

Date(s) debt was incurred Various
Last 4 digits of account number _

l:l Contingent
El unliquidated

l Disputed
Basis for the claim: _

ls the claim subject to offset? . No l:l Yes

 

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Narne
Nonpriority creditot’s name and mailing address As of the petition tiilng date, the claim is: Checkall that apply $2,586.50
Jeremy TTAG n Contingent
l1:{205/!:,(*5!|enlt‘ia.l_|;)(r:ise81 El unliquidated
Oul'l 06
, ’ _ l Disputed
Date(s) debt was incurred Various
"' _ Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No g Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply $235.64
Jerry Savage |Il contingent
$_07:’> D¥e_;'lLaS_T_ 8412 El unciquldated
a OI`SVl e
y ' 9 _ - Disputed
nate(s) debt was incurred Various
Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:i Yes
Nonpriority creditor's name and mailing address As of the petition liiing date, the claim is: checkall that apply. $224.46
J°ey Hayashi ` [:l Contingent
262 Tangel'ine Drive n Unliquidated
Buda, TX 78610 l - Dispu‘ed
Date(s) debt was incurred Varlous
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject lo offset? - No El ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all tlratapply. $146.48
John Hendrickson El contingent
19412 Pompano Ln., Unit 105 [| unliquida¢ed
Huntmgton Beach, CA 92648 . Disputed
Date(s) debt was incurred !M
Basis fortl'te claim: _
Last 4 digits of account number _
lsthe claim subjectto offset? - No n ¥es
3.185 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that applyl $22.75
John Johnson |:l Contingent
803 Shirez Drive |:l unliquidated
Grovetown, GA 30813 . Disputed
Date(s) debt was incurred Various _
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $265.26
John MCClinfil'l l:l Contingent
9701 Trumbul| SE El unliquidated
Albuquerque, NM 87123 - Disputed
oate(s) debt was incurred LIM _
Basls for the claim: _
Last 4 digits of account number _
ts tire claim subject to offset? l Ne E| Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $22.09
John Visscher |:l Contingent
10038 River Drive ij untrquldated
thsonton, FL 33534 - Disputed
l Various
Déte(s) debt was owned _' Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
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Name

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3.188 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $120.00
Jones, Brower & Ca|lery, PLLC E] Connngenr
155:45|‘;°:‘"€“. l:] Unliquidated
a 0 - .
Lewiston, lD 83501 D's°"‘°d
Date(s) debt was incurred Various Basis f°"""’ °'a'"" -
Last 4 digits of account number __ ls the claim subject to offset? . No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that applyl $1,000.00
Jordan Morkved |:| Contingent
332| S- 0?“‘|":>6:;4 El unliquidated
a t°n’ _ l Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No U Yes
3.190 Nonpriority creditor's name and mailing address As of the petition E|ing date, the claim is: Check all that apply. $2,81 5.00
Jose Luis Fernandez El contingent
7119 llex Street g Unliquidated
Houston, TX 77087 l - Disputed
Date(s) dehtwas incurred Val'lOuS
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No E| Yes
Nonpriority creditot’s name and mailing address As of the petition filing date, the claim is: check all that apply. $146.48
Joseph Cambern |:l contingent
629 N 96th Street n Unliquidated
Mesa, AZ 85207 . Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject lo offset? - No L_.l ¥es
3.192 Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: check all that apply. $O.UO
Joseph Chase I:l contingent
434 Linden Ave n uniiquidated
Lewiston, lD 83501 - Disputed
Various .
Dme(s) debt was incurred __ Basis for the claim: Fol' notlce EU"EOSBS OnlY
Last 4 digits of account number _
ls the claim subject lo offset? - No n Yes
Nonprioth creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $198.79
Ju|io S Chavez E| contingent
8888 Citrl.ls Ave., Unit C-22 |'_'] Unliquidated
Fontana, CA 92335 - Disputed
d bt ' rred Various
Date(s) e was man _ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $610.90
KC Auto Paint & Supplies E| contingent
151 Thain Road El unliquidated
Lewiston, |D 83501 . Disputed
' Various
oate(s) debt was incurred ___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
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Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,125.00
Keith Katzenberger Cl contingent
:825 Powers Drive [] Unnquidaieu. t
ewiston, lD 83501 . Disputed
Date(s) debt was inclined Various
Basis fortha claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $198.00
Ke||y's C|eaning Service l:l contingent
:536_ stth S|tbc 1 L__i Unliquidated
ewls on, 8350 - . Disputed
Date(s) debt was incurred Various
”' ' "'_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:] Yes
3.197 Nonpriority creditol‘s name and mailing address As of the petition filing date, the claim is: Check all tl‘itatapplyA $2,000.00
Kenda| Watkins E| contingent
102 Spinnaker Circle [] unliquidated
Daytona Beach, FL 32119 - Disputed
oato(s) debt was incurred Various
"'__ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check allthar apply. $1 ,044.40
Kenneth B. Reed Ei contingent
One Hancock Dr. |] Unliquidated
Lompoc, CA 93436 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No cl Ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that applyl $1,248.50
Keyence Corp. of America El contingent
Andy Scheller El unliquidated
Dept. CH 17128 -
, Dis uted
Palatlne, lL 60055-7128 p
Date(s) debt was incurred Various Bas's for the claim: -
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $530.00
Krieger Barrels, lnc. l:l contingent
Davidl Sandy El unliquidated
2024 Mayfield Rd. - .
. D fed
Rnchneld, wl 53016 '$"“
Date(s) debt was incurred Various Basis for the claim: -
Las‘ 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $899.48
Laird Pla$tic$ l:l Contingent
Ron McKay l'_`| unliquidated
7017 E. Mission Ave. - Disputed
Spokane Val|ey, WA 99212-1198
Date(s) debt was incurred Various Basls for the cla‘m: _
Last 4 digits of account number _ ls the claim subject to offset? - No n Yes
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Nam€
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $84.25
Landscapes By Design |:| contingent
721 _Brydel'l Ave E| unliquidated
Lewiston, ID 83501 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _ n
le the claim subject to offset? l No L__l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $4,166.67
Larysa Un|eashed LLC |:| contingent
8218 Santa Rosa Ct. E] unliquidated
Sarasota, FL 34243 l - Disputed
Date(s) debt was incurred VarlOl.lS
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to olfset? - No |:l Yes
Nonpriority creditor's name and mailing address k of the petition ming date, the claim is: Check all that apply. $0.00
Lax Firing Range E| contingent
234 S- Hi'\d\’y AV€- ij unliquidated
lnglewood, CA 90301 - Disputed
Date(s) debt was incurred
" Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? n No l Yes
3.205 Nonpriority creditor's name and mailing address As of the petition iiling date, the claim is: Check all that apply. $212,684.90
Leader Tool Co lnc El contingent
:gan Gué\sn lIl unliquidated
BOX l
D's uted
l-larbor Beach, Ml 48441 ' "
Date(s) debt was incurred Various Bascs forma claim: "
Last 4 digits of account number_ ls the claim subject to offset? - No l:l Yes
Nonpriority creditors name end mailing address Ae of the petition ming date, the claim is: check alluotepply. $925.00
Lee Biegert l:l Contingent
1371 CR_ 317 |Il unliquidated
La Vemta, TX 78121 - Disputed
Date(s) debt was incurred Various
""'_"_ Basls for the claim: __
Last 4 digits of account number_
ls the claim subject to offset? - No l:i Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhaiapply. $1,035.77
Lee Boldl.lc m Contingent
2733 N. Power Rd., Ste. 102 |:] Unliquidated
Mesa, AZ 85215 l Disputed
Date(s) debt was incurred Various
___ Basis for the claim: __
Last 4 digits of account number_
ls tile claim subject tn offset? - No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,578.50
Lewis C|ark Recyclers El contingent
PO Box 16_87 El unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
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Name

 

 

 

 

 

 

 

Nonpriority creditor's name end mailing address As of the petition filing date, the claim is: clock elltnat apply. $0.00
Lewis-C|ark Ammunition Components, LLC El contingent
315 P Street |Il unliquidated
Lewiston, ID 83501 . Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - Nu l:i Yes
3.210 Nonpriority creditors name end mailing address As of ute petition filing date. lite claim is: cheek all tnarapply. $124.44
Lewiston Auto Parts |:| contingent
208-746-1322 FOR LOCAL ORDERS [] unliquidated
PO Box 2648 .
Dls uted
Hayden, lt) 83835 "
Date(s) debt was incurred Various Basis forum claim: _
Last 4 digits o{ account number _ is the claim subject to offset? - No n ¥es
3.211 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $114.96
Lewiston Sprinkier Company E| contingent
1602 16th Ave. n Unliquidated
Lewiston, iD 83501 - Disputed
Date(s) debt was incurred _\MU
Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? - No El Yes
Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: Check all that apply. $1 ,464.20
Liberty Mutua| insurance |:l contingent
PO Box 85307 El unliquidated
San Dtego, CA 92186 - Dispmed
Date(s) debt was mounted Various
Basis for the claim: _
Last 4 digits of account number __
ls the claim subjecth offset? - No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $6,048.83
LifeMap Assurance Company El contingent
PO BOX 6340 l:| unliquidated
Portland, OR 97228 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
lsthe claim subject to offset? . No i:l Yes
l 3.214 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 ,600.00
Lindsey Monroe El contingent
Port Orange, FL 32128 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
|s the claim subject to offset? . No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: cheek eli that apply, $56,539.50
Listl'ak n Contingent
100 W. Millport Rd. El unliquidated
Lliltz, PA 17543 - Disputed
nate(s) debt was inclined Various _
Basis forthe claim: _
Last 4 digits of account number _
is the claim subject to offset? - No n Yes
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Nonpriority creditors name and mailing address As of the petition tiling date, the claim is: check all that apply. $7,500.00
Logicbroker, inc El contingent
gfa'gERegan D S 425 l:l unliquidated
ne nterprise rive, te. .
Dls died
shelton, cT 06484 °
Date(s) debt was incurred Various Basis '°" the °‘a‘"" -
Last 4 diggs of ac¢°um number _ ls the claim subject to offset? - No l:l ¥es
3.217 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Lolo Sporting Goods, lnc. El contingent
1025_ Main Sf- El unliquidated
Lewiston, |D 83501 - Disputed
Dat s debt was incurred Various _
e( ) __ Basls for the claim: For Notice Purgoses Only
Last 4 digits ot account number _
is the claim subject to offset? l No El res
3.218 Nonpriority creditor's name and mailing address N', of the petition filing date, the claim is: Check all that apply. $3,294.30
Loomis i'_`l contingent
Dept._CH 10500 El unliquidated
Pa|attne, iL 60055 - Disputed
Date(s) debt was incurred Various
°__"'_' Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No [] Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: coeur all that apply. $572.10
Ll.lis Chiril’lo Cl Contingent
661 Brea Canyon Road Unit 7 [:| Unliquidated
Walnut, CA 91789 . Disputed
Date(s) debtwas incurred Various
Basis for the claim: _
Last 4 digits of account number _
le the claim subject to onset? l No Ei Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check alltllet apply. $148,247.28
Luvata Appieton, LLC El contingent
Pp Box 200498 El Unliquidated
Ptttsburgh, PA 1 5251 - Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No n Yes
3.221 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that applyA $4,318.56
Maintenance Connection inc El contingent
Jeff Ruife\’ i:| unliquidated
1477 Drew Ave., Ste. 103 - Disputed
Davis, CA 95616
Date(s) debt was incurred Various Basls for me cla!m: -
Last 4 diggs of account number_ is the claim subject to offset? l No |'_`| Yes
Nonpriority creditol’s name and mailing address As of the petition filing date, the claim is: Check all that apply. $87.47
Mark Ginter El contingent
9595 C°y°fe Cf- E] unliquidated
Noblesville, lN 46060 - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number _ -
is the claim subject to offset? - No l:l Ves
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Name
Nonpriority creditor's name and mailing address ks of the petition filing date, the claim is: Check alltl)al apply. $116.60
Martin Heald El contingent
112 Kearsarge Valley Rd. |:] unj;qujdajed
Wllrl'lof, NH 03287 - Disputed
Date(s) debt was incurred Various
___ Basis forthe claim: _
Last 4 digits of account number_
|s the claim subject to offset? l No l:l ¥es
Nonpriority creditor's name and mailing address m or the petition ming date, the claim is: check all tiatapply. $1 ,150.83
McMaster-Carr Supply Co El contingent
PO_B°X 7590 El unliquidated
Chlcago, IL 60680-7690 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $23,923.00
Media Lodge, lnc l:l Contingent
PO B°X 2511 El unliquidated
Kennesaw, GA 30156 . . Disputed
Date(s) debt was incurred Various
Basis forthe claim: _
Last 4 digits of account number ___
ls the claim subject to offset? - No l:l Yes
3.226 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $7,129.92
Mesa County Sheriff's Office El contingent
544 R°°d AV_e- El unliquidated
Grand Junctlon, CO 81502 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject lo offset? - No n Yes
g Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Miami Police Depot, lnc. l:| contingent
2§40 W. 84th St. l:l Unliquidated
Hlaleah, FL 33016 . oispmed
Date(s) debt was incurred _ _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to onsei? El No l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check iit/that apply. $73.50
Michael Cames l:l contingent
10841 Prairie Lane El Unliquidated
Mokena, lL 60448 - Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No L_.l Yes
Nonpriority creditor's name and mailing address As of the petition ming date, the claim is: Check all that apply. $207.1 6
Michael Jackson - El contingent
25111 Linda Vista Dr. EJ unliquidated
Laguna Hllls, CA 92653 l - oisputed
Date(s) debt was incurred Varlol.lS
Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:l Yes
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Name

 

 

 

 

 

 

 

Nonpriority creditors name and mailing address As ofthe petition filing dsto, tire claim is: clodt all inst apply. $828.64
Michael McWhorter l'_'| contingent
3159 Bear Hollow Road |:| unliquidated
Unlontown, OH 44685 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:i Yes
Nonpriority creditor's name and mailing address ns of the petition iiling date, the claim is: check all trial apply $85.68
Michael Nguyen |'_`i contingent
2085 Martel' Ave. n unliquidated
Slt't‘tl Valley, CA 93065 - Disputed
Date(s) debt was incurred Various
`_ _ ' Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No I:l Yes
Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: clock all that apply. $54.40
Michael White Ei contingent
Ralelgh, NC 27610 - Disputed
Date(s) debt was incurred Various
_ Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No n Yes
@ Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all lhol apply. $553,667.00
Midwest Brass, LLC El contingent
9254 US_'31 ij unliquidated
West O|lve, Ml 49460 l - Dispmed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all thatapplit $11 .88
Mike Ka$aba E] Contingent
18635 Film°l`e St. n Unliquidated
leonla, M| 48152 . Disputed
oato(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l No |I| vos
|_SE| Nonpriority creditol’s name and mailing address As of the petition filing date, the claim is: Chedt all that apply. $507.23
Mike P|Ouffe l:i Contingent
509 Runnymeade Ct. El unliquidated
Fayettevl|ie, NC 28314 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Mi|an B|agojevic-Namenska A.D. l] contingent
Radni¢ka bb i:l uniiquidated
32240 Lucani -
. . DiS ui€d
Republlc of Serbta p
Date(s) debt was incurred Various Basis for me claim: -
Last 4 digits of account number _ ls the claim subject to offset? - No m Yes
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3.237 Nonpriority creditor's name and mailing address As oftbe petition filing date, the claim is: check all thatapply. $1 ,844.05
Miles Chemical ill contingent
12801 Ral'igOOl'l Sf. m Unliquidated
Arleta, CA 91331 - Disputed
Date(s) debt was incurred Various
__ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:l Yes
Nonpriority creditoi’s name and mailing address As of the petition filing date, the claim is: check all that apply. $1,016.95
Mitch Savoie l:l contingent
825 Ombrage Rd- l:l unliquidated
Carencro, LA 70520 . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number __
ls the claim subject to offset? - No l:l ¥es
Nonpn'ority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $17,183.00
Moss Adams LLP |:l contingent
PO B°X 101322 ['.i unliquidated
Pasadena, CA 91189-1822 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $3,285.89
Motion |ndustries, inc Ei contingent
ken 19 E| unliquidated
9922 E. Montgomery, Units 18 & l
D` uted
Spokane Valley, WA 99206 'Sp
Date(s) debt was incurred Various Basis for the claim: _
Last 4 diggs of amount number_ |s the claim subject to offset? - No ij ¥es
3.241 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,065.92
Mound House True Va|ue Hardware l:l contingent
10139 HW_y 59 E E| unliquidated
Carson City, NV 89706 - Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m ‘l'es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply $4,661.63
MSC lndustrial Supply Co E.i contingent
PO BOX 9‘_53635 ij unliquidated
Saint Louls, MO 63195 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Ves
Nonpriority creditor's name and mailing address As ofthe petition filing date, the claim is: Check all lhalapply. $4,000.00
Myfofa, lnc. n Contingent
12435 Tesuque Dr Ei unliquidated
Apple Valley, CA 92308 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? - No n Yes
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Debtor Freedom Munitions, LLC

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Narne

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $10,699.16
Nationa| Machinery, LLC E| contingent
Tamml myqu Ei unliquidated
161 Greenfield Street - ms med
Tiftin, ol-l 44883 "
Date(s) debt was incurred Various Basls fm me damn -
Last 4 diggs of a¢c°gm number _ ls the claim subject to offset? . No ij Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $0.00
NET GlDbal i:] Contingent
359 w. Elm Street n Unliquidated
Penbroke, MA 02359 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No E] Yes
Nonpriority creditor's name and mailing address As of the petition Hilng date, the claim is: check all lhatapply. $5.00
Nevada Employment Security Div E| contingent
500 E Th"_'d St- l:l Unliquidated
Carson City, NV 89713-0\-)30 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
3.247 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 ,1 69.88
Nevada Occupational Hea|th Cerl |:i contingent
PO B°X 2_1225 i'_'i unliquidated
Carson City, NV 89?21 . Dispmed
bate(s) debt was incurred Various
""'_' Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: check all lnalapply. $684.91
Nickoiaus Mans . C] contingent
173 Fischer \:I unliquidated
Spur, GA 30265 . Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No ij Yes
Nonpriority creditor's name and mailing address As of the petition Hiing date, the claim is: check all that apply. $2,693.68
Nicole Laurel Brown l:| contingent
1851 N. Green Va|iey Parkway, #621 [] Unliquidated
Henderson, NV 89074 - oispmed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:\ Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00

NMHG Financial Services, lnc.
P.O. Box 35701
Bi|lings, MT 59107

Date(s) debt was incurred Various
Last 4 digits of account number _

n Contingent
i:i unliquidated

l uispuled
Basis for the claim: _

ls the claim subject to offset? - No ij ¥es

 

Oil'icial Foml 206 ElF Schedule Ech Credltors Who Have Unsecured C|aims

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Debior Freedom Munitions, LLC
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Nonpriority creditors name and mailing address As or the petition tiling date, the claim is: check ial/that apply $1 ,269.61
North Coast Electric E| contingent
4105 North GOV't way g Unliquidated
Couer d Alene, lD 83815 - Disputed
Date(s) debt was incurred Various
"'_"_ Basis for the claim: __
Last 4 digits of account number_
ls the claim subject to offset? - No m ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $6,800.00
Northwestem Mutual El contingent
PQ B°X 2052 El unliquidated
Mllwaukee, W| 53201 - Dispmed
Date(s) debt was incurred Vari°l.l$
_ Basis forthe claim: __
Last 4 digits of account number _
ls the claim subjectto offset? - No Ei res
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Chedt all thatapply, $425.00
Novation, lnc. |:| contingent
2616 N. LOC|.|St Rd. n Unliquidated
Spokane, WA 99206 . Disputed
natc(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No n Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all net apply. $105.00
Nu-Systems, |nc |:l contingent
1266 Dresslervi|le Rd. |:| unliquidated
Gardenvl|le, NV 89721 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check atl that apply. $1 ,424.00
Nuvodia, LLC m Contingent
801 S Stevens Street |:| Unliquidated
Spokane, WA 99204 - Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to onsct? l No El Yes
3.256 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $5,484.42
NV Enet'gy n Contingent
PO BOX 30065 El unliquidated
Reno, NV 89520 . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:\ Ves
3.257 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $13,642.34
Oak Harbor Freight l:l contingent
Po Box 1469 m Unliquidated
Auburn, WA 98071 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? l No El vas
Oliicial Forrn 206 E/F Schedule ElF: Creditors Who Have Unsecured C|aims Fago 62 of 79

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Debtor Freedom Munitions, LLC

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Case number (it knawn) 18-5061 5-btb

 

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all tnalapply. $29,142.29
Old Dominion Freight Lines I:i Contingent
Po BOX 742296 n Unliquidated
Los Angeles, CA 90074-2296 - Disputed
Date(s) debt was incurred Various
_ Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
3.259 Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: check al/tnat spain $115,773.00
Orac|e America E| contingent
Benlorholip P rkw ij Unliquidated
500 rac e a ay - .
D Uied
Redwood shores, cA 94065 's"
Date(s) debt was incurred Various Basis for the claim: -
Last 4 dfgits of account number_ is the Ciaim $Ubject to offset? . NO m Yes
Nonpriority creditor's name and mailing address As of the petition liling date, the claim is: check all that apply. $2,508.57
Orange County Sherrif's Office Ei contingent
PO B°X 445 El unliquidated
Orange, VA 22960 . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? i:i No - Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $667.25
OXal'C i:i Contingent
1513 31'¢| Ave El unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred Various
_ Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject lo offset? - No L_.i Yes
3.262 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all trial apply. $3,653,103.80
P Kay Metal, inc cl Contingent
La"’y Kay Ei unliquidated
2448 E. 25th Street - Disputed
Los Ange|es, CA 90058
Date(s) debt was incurred Various Basis f°' me °'a'"" -
Last 4 diggs of account number_ ls lite claim subject to offset? i:i No - Ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $3,060.64
Pacit“lc Stee| & Recyc|ing El contingent
Cindy Ha"S°" El unliquidated
PO Box 1570 l .
D s uted
Hayden, in 83835 ' ”
Date(s) debt was incurred Various Basis for the c'aim: -
Last 4 digits of account number_ ls the claim subject to offset? - No i:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $27,313.39
Packaging Corporation of Ameri El contingent
Tan'lya MCKi""ey E| unliquidated
PO Box 51584 .
Dls uled
Los Ange|es, CA 90051 p
Date(s) debt was incurred Various Basis for me claim: _
Last 4 diggs of account number_ ls the claim subject to offset? l No E| Yes
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Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $928.99
Pape Material Handling H40FT Ei contingent
giangimg:’;lr;“an El unliquidated
OX - .
Dls uted
Portland, oR 91208-0501 ”
oate(s) debt was incurred Various Basis f°" "'° °'°"“‘ ~
Last 4 digits of account number _ is the ClSim Subject iD Offsei? - NO n Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: check all that apply. $0.00
Para|le| Group |Ii contingent
1380 Hamei Road m Unliquidated
Hamel, MN 55340 - Disputed
Date(s) debt was incurred
" Basis forthe claim: __
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
3.267 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 1 ,001 .02
Pal'ailel, LLC l:i Contingent
Para||e|. LLC |J unliquidated
1380 Hamel Rd. -
. Dis uted
Medina, lvl155340 "
Date(s) debt was incurred Various Basis for the claim: -
1351 4 digits of account number_ ls the claim subject to offset? . No ij Yes
Nonpriority creditofs name and mailing address As of the petition filing date, the claim is: Check all that apply. $63.00
Patrick Harvey El contingent
2818 Cambfidge Rd. n Unliquidated
Lake Worth, FL 33462 . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject lo offset? - No i:i Yes
Nonpriority creditors name and mailing address As ot the petition ming date, tire claim is: cheek all nat apply. $3,655.00
PCB Piezotronics, lnc. i:i Contingent
Steve EJ unliquidated
3425 Wa|den Ave. - .
Dts uled
Depew, NY14043 "
oate(s) debt was incurred Various Basis f°' the °'a"“: -
Last 4 digits eraeeonnt number_ ls tire claim subject to offset? l No El Yes
3.270 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $843.96
Perfection Tire of Lewiston l:i contingent
533 Thain Road m Unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
lsthe claim subject to offset? . No n Yes
3.271 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ell that apply. $1 55.42
Phil|ip A Swiderski Sr Ei contingent
15971 Smokey Ho|low Road |:] Unliquidated
Traverse City, Ml 49686 . Dispu‘ed
Date(s) debt was incurred Various
___ Basis forthe claim: _
Last 4 digits of account number _
lsthe claim subject to offset? - No \:i Yes
Ofl`icial Form 206 E/F Schedule ElF: Creditors Who Have Unsecured C|aims Fage 64 of 79
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Freedom Munitions, LLC Case number (it known) 1 B-50615-btb
Name
3.272 Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all thatapply. $178.63
Pinnacle investigations Corp |] contingent
920 N Argonne Rd., Ste. 200 L`.| unliquidated
Spokane Valley, WA 99212 l Dispmed
Date(s) debt was incurred VafibuS
Basis for the claim: _
Last 4 digits of account number_
ls the claim subjectto offset? - No l:i Yes
3.273 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check eli that apply. $1 ,034.98
Pitney BOWeS i:i Contingent
PO BOX 371874 n unliquidated
Plt\sburgh, PA 15250 l Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subjectto offset? - No Ei Yes
3.274 Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all thaiapply. $3,188.25
Pivot Precision |I| contingent
1 -71 6-625-8000 [:| Unliquidated
5550 Campbell Blvd. -
D's uted
Lockporf, NY 14094-9228 l p
Date(s) debt was inclined Various Basls for the claim: -
Last 4 diggs uf account number _ ls the claim subject to offset? l No l:l Yes
3.275 Nonpriority creditor's name and mailing address As of the petition ming date, the claim is: Check all that apply. $0.00
Precision One Ammo El contingent
2071 Wambaw Creek Road |:| unliquidated
Char|eston, SC 29492 l Disputed
Date(s) debt was incurred _ _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? i:i No - Yes
3.276 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,634.68
Precision Punch Corporation l] contingent
304 Christial'l Ll'l. n Unliquidated
Beriln, CT 06037 . Disputed
Date(s) debt was incurred Various _
__ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No i:i Yes
Nonpriority creditor's name and mailing address As of the petition Hiing date, the claim is: Check all that apply. $90.91
Prime|and Cooperatives E\ contingent
F-O» B°X 457 El unliquidated
Lewiston, |D 83501 . Disputed
Date(s) debt was incurred ,
_ Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? - No l:l Yes
3.278 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $231 .00
Rau| Sotelo E| contingent
19439 Rosebud Ridge Way jj Unliquidated
Spring, TX 77379 - Disputed
Date(s) debt was incuned Various
____ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No El Yes
Ofi'tcial Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Page 65 of 79
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Nama
Nonpriority creditors name and mailing address As of the petition tillng date, the claim is: check all lhatapply. $27,296.00
Reaco, LLC n Contingent
Kafle Burg L`.l unliquidated
PO Box 2468 . Disputed
Kearney, NE 68848
Date(s) debt was incurred Various Basis for the claim: -
Last 4 digits of account number _ |S the Claim subject w offset? . N° m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: check all that apply. $5,150.00
Rex Layton E| contingent
11|34 Gth Sf- C| unliquidated
C arkston, WA 99403 . Disputed
Date(s) debt was inclined Various
_ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:] Yes
Nonpriority creditors name and mailing address Ae of the petition lillng date, the claim is: check all that apply. $300.00
Richard James & Associates lnc E| contingent
4317 NE Thul’StOl'l Way, Ste. 270 n Unliquidated
Vancouver, WA 98662 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 5.95
Richard Withers I:l contingent
8110 201St Street EaSt n unliquidated
Spanaway, WA 98387 . Dispmed
Date(s) debtwas incurred Various _
Basls for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No m Yes
Nonpriority creditors name and mailing address As of the petition tiling date, the claim is: check all llral apple $73.02
Robel’f Hart$hol’n l:i Contingent
7012 NE 141511 Ct |] Unliquidated
Vancouver, WA 98682 . Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nonpriority creditors name and mailing address A.e of the petition ming date, the claim is: cheek all that apply. $46.04
Roberl: Kee l:l Contingent
91103 ¥oungs River Road [_\ Unliquidated
Astorla, OR 97103 l Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
le the claim subjectto offset? l No El Yes
Nonpriority creditors name and mailing address Ae ot the petition filing date, the claim is: check elmer apply $97.30
R0bel’f Sfopa n Contingent
1101 S Hurlt Club Dr., Apt 412 |:| Unliquidated
Mt. Prospect, lL 60056 . Disputed
Date(s) debt was incurred Various
. Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n ¥es
Olii¢:ial Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 66 of 79
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Narne
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all that apply. $20.93
Robert Wa|lace |J Contingent
2298 Willow Street Pike l:i Unliquidated
Lancaster, PA 17602 l Disputed
Date(s) debt was incurred Various
Basis forthe claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No 13 ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $792.00
Rodeo |ntemet Services El contingent
909 631 sf- El unliquidated
Clarkstolt, WA 99403 . Disputed
Date(s) debt was incurred Various
__ Basis for the claim: __
Last 4 digits of account number _
ls the claim subject to offset? - No [] ‘(es
3.288 Nonpriority creditor's name and mailing address As of tire petition filing date, the claim is: Check all that apply. $69.75
Ro|f Johnsen El contingent
39 Greenwood Drive |:| Unliquidated
South San Franclsco, CA 94080 - Disputed
Date(s) debt was incurred Various _
_ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No m Ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $313.50
Ronnie Ear|e |:l contingent
61 Wildeme$$ Cf. |:| uniiquidaied
Harpes Ferry, WV 25425 _ - Disputed
Date(s) debt was incurred w _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No |`_'l Yes
Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: check all that apply. $1 ,870.02
Roya| Diversified Products, ln L'_l contingent
Po BOX 444 Ei unliquidated
Warren, Rl 02885-0444 - Disputed
Date(s) debt was incurred Various
___ Basis for the Claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No l:l ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $13,415.69
Roya| Meta| industries, lnc El contingent
Visan§l Chaw|a c B| d ij unliquidated
7240 ycamore anyon v . l .
. . Dls uted
Riversrde, cA 92508 "
Date(s) debt was incurred Various Bas's for me claim: -
Last 4 digits of account number_ ls the claim subject to offset? - No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $79.36
Rudo|ph's Auto Service El contingent
508 Beachey Street C| Un;;qu;daied
Lewiston, lD 83501 - Disputed
Date(s) debt was incurred M
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - Ncl n Ves
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Case number (iilmown) 18-50615-btb

 

 

 

 

 

 

 

 

 

Narne
Nonpriority creditors name and mailing address As ortho petition filing date, the claim is: check author apply. $12,1 1 5.52
Rudy Zaruba El contingent
10202 RUSSef Field Ct. n unjiquida;ed
Houston, TX 77070 - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? El No l Yes
Nonpriority creditor's name and mailing address ks of the petition filing date, the claim is: check all that apply. $64.00
Ryan Pattman El contingent
1201 Canterbury Blvd. |:| unliqujda,ed
Altus, OK 73521 l Disputed
oate(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:l Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check author apply $9,009.00
S & A Wood Specialties l:l contingent
larry El unliquidated
1323 A Ripon Ave. .
. D's led
Lewiston, lD 83501 ' pu
Date(s) debt was incurred Various Basis for the damn -
Last 4 digits oraeeount number_ ls the claim subject to arisen l No El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all lhatapplic $6,250.00
SAAMI l:l Contingent
Rai\dy |:l unliquidated
11 Mile Hill Rd. -
DiS Uied
Newton, cr 06410 "
Date(s) debt was incurred Various Basis for the claim: -
Last 4 digits cf account number_ ls the claim subjecl to offset? - No n Ves
3.297 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lharapply. $942.28
Safety- K|een Systems EI contingent
1200 Marietta Way [:| Uniiquidajed
Sparksl NV 89431 . Disputed
Date(s) debt was incurred Various _ _
____ Basis fertile claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $5,400.00
Saginaw Machine Systems E| contingent
Dave All-Ibert s El unliquidated
800 N. amilton t. - .
. D s uted
Saglnaw, Ml 48602-4354 ' p
Date(s) debt was incurred Various easls for the claim: -
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
3.299 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $375.62
Saia Motor Freight |:l contingent
PO BOX 730532 n Unliquidated
Dallas, TX 75373 - Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number _
is tire claim subject to offset? l No El Yes
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Name

 

 

 

 

 

 

 

 

Nonpriority creditors name and mailing address As of the petition ming date, the claim is: check all theraple $107.90
Schurman's True Va|ue El contingent
301 th Street n Unliquidated
Clarkston, WA 99403 - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subjectto offset? l No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check alltliar apply. $6,925.61
Schwab's Screw Machine Product E| contingent
24458 \_Nebb Rd. E| unliquidated
Lapwat, lD 83540 o - Disputed
Date(s) debt was incurred Various
___ Basis for the claim: _
Last 4 digits of account number_
' is the claim subject to offset? |J No l Yes
Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: check an riaiappty. $271.38
Sean Blakely l:l Contingent
2671 Sw Windship way n Unliquidated
Stuart, FL 34997 - Disputed
Date(s) debt was incurred Various
__ Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No El yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $1,130.00
Seaport Machine El contingent
1719 13th Street n Unliquidated
C|arkston, WA 99403 l - Disputed
Date(s) debt was incurred Various
_ Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? l No El Yes
Nonpriority creditors name and mailing address As of ma petition filing date, tire claim is: check ailrhai apply. $3,992.74
Shumaker, Loop & Kendrick El Contingent
240 S. Pineapple Ave. |:] Unliquidated
Sarasota, FL 34236 - Disputed
Date(s) debt was incurred Various
Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n Yes
Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: Check alllhai apply. $0.00
Silver State Bullets, LLC El contingent
Jim & Diane House l:| unliquidated
PO Box 2270 -
D' led
Dayton, Nv 89403 'Sp“
Date(s) debt was incurred Various Bas’s f°'"'° °'a‘“" -
Last 4 diggs of account number_ ls the claim subject to offset? l:l No - Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alllhai apply $0.00
Southwest Gas l:l Contingent
PO BOX 98390 |I| unliquidated
Las Vegas, NV 89193 - Disputed
Date(s) debt was |ncurred _V_at`i_O_l_l§ _
Basis for the claim: __
Last 4 digits of account number _
ls the claim subject to arisen l No El ves
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Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all lhalapply. $1,009.41
Spokane House of Hose E| contingent
Gerry Zlnkgraf El unliquidated
5520 E. Sprague Ave. . D. ed
spokane valley, wA 99212 "°'"“‘
Date(s) debt was incurred Various Basls for the claim: -
Last 4 digits of account number_ ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $11,988.69
Spokane Packaging |:| contingent
3808 N. Sullivan Rd., Bldg #21 l:| unliquidated
S ok ne W
P a ' A 99216 . l Disputed
Date(s) debt was incurred VarlOuS
_ Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply $772.10

SPS Commerce, lnc.
PO Box 205782
Dallas, TX 75320

Date(s) debt was incurred Various
Last 4 digits of account number_

I:l Contingent
|] unliquidated

l Disputed
Basls for the claim: _

ls the claim subject lo offset? l No ij Yes

 

Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is: Check all that apply.

$191,591.20

 

 

 

 

St. Marks Powder Il`l contingent
J%d' Mc|;e£ l:l unliquidated
p Box 2 -
. Dl Uied
saint Marks, FL 32327 'sp
Date(s) debt was incurred Various Basis forma cla'm: -
Last 4 diggs of account number_ ls the claim subject lo offset? - No m Yes
3.311 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $4,386.1 3
Staples Business Advantage l:l contingent
P0 Box 83689, Dept. LA El unliquidated
Chlcago, IL 60696-3689 - Disputed
Date(s) debt was incurred Various _
___ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No n ¥es
Nonpriority creditor's name and mailing address As ot the petition filing date, the claim is: check all nat apply. $0.00
Sfarline, lnC l:l Contingent
Debbie Myers El unliquidated
1300 W. Henry .
. Dls uted
sedalia, Mo 65301 "
Date(s) debt was lncun'ed Various Basis for the damn -
Last 4 digits of account numbe,- _ ls the claim subject to offset? - No n Yes
3.313 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thalapply. $116.25
Steve Olson El contingent
562 Ean Wige°|"| Way m Unliquidated
Sulsun City, CA 94585 - oispmed
Date(s) debt was incurred Various ' _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No g Yes
Oliicia| Form 206 ElF Schedule ElF: Credltors Who Have Unsecured C|aims Page 10 of 79
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Debtor Freedom Munitions, LLC
Name

Nonpriority creditor's name and mailing address

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As ot the petition tiling date. tire claim is: cheek all inaiapply. $432.40
Steven Robedeau El contingent
1643 Grayfrlars El unliquidated
Holt, MI 48842
, l Disputed
oate(s) debtwas incurred Various
_ _ '__ Basis for the claim:
Last 4 digits of account number _ _
ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petltion filing date, the claim is: checkall that apply. $0.00
STl Brasi| (Tactica| Gear lmports)
AV. Professor Mario Werneck |:| contingent
2275 Bairro Buritis El unliquidated
Be|o Horizonte . .
. . . Dls uted
Mlna| Gerals, Brazl| p
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number_ ls the claim subject lo offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $31 ,904.00
STl |ntemational l:l contingent
114 Halmar Cove jj unjjquldajed
Georgetown, TX 78628 . Disputed
Date(s) debt was incurred Various _
” "__ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
3.317 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $15,243.00
Stonebraker McQuary insurance El contingent
Don McQuary El unliquidated
PO Box 9 - .
Ds uted
clarkston, wA 99403 ' °
Date(s) debt was incurred Various Basls forma cla'm: _
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As ofthe petition filing date, the claim is: check all that apply. $325.13
Sunnen Products Co. El Contingent
PO Box 952481 ij unliquidated
Saint Louls, MO 63195 - Disputed
' Various
Da‘e(s) dam was manned ____ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No cl ‘(es
3.319 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all thatapply. $1,635.00
Sutherland Asbil| & Brennan LL E| contingent
999 Peachtree St., NE, Ste. 2300 [] unliquidated
Atlanfa, GA 30309-3996 - Disputed
‘ Various
Date(s) debt was incurred Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
As of the petition filing date, the claim is: Check all that apple $6,300.00

Nonpriority creditor's name and mailing address
Ta|kingLead, LLC
306 Roya| Glen B|vd.
Murfreesboro, TN 37128
Date(s) debt was incurred Various

Last 4 digits of account number_

l:l Contingent
El unliquidated

- Disputed
Basis for the claim: _

ls the claim subject lo offset? - No \:\ Yes

 

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Narne
3.321 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $51 .75
Tay|°r s_tanley n Contingent
30 gantt:g_oai;;)ag El unliquidated
e a
ry’ _ - Disputed
Date(s) debt was incurred Various
_ Basis for the claim:
Last 4 digits of account number _ _
is the claim subject to offset? - No m Ves
Nonpriority creditol’s name and mailing address As ofthe petition filing date, the claim is: check all lhalapply. $0.00
Team Wilson Combat CI contingent
§452 C_lRl 71:R 72616 El unliquidated
el l yVl e
' - Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number _
is the claim subject to offset? - No ij ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhatapply. $1,050.00
Tharco EI contingent
Po Box 51584 cl Unliquidated
Los Angeies, CA 90051 . - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . Ne Ei Yes
3.324 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $24,999.90
The High Road Group, lnc. |:l contingent
Ron Bice, Michei|e Pawelek |:| Unliquidated
1492 S. Seguin Ave. - .
Dls uted
New Braunfels, Tx 78130 "
nate(s) debt was incurred Various Basis f°' the °'°"'" -
Last 4 diggs of account number _ ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Thermai Mod EI contingent
19830 SW Teton Ave |J unliquidated
Tualatln, OR 97062 . Disputed
l d Various
Date(s) debtwas "°""° __ Basis for the claim:_
Last 4 digits of account number _
ls the claim subject to onset? l No l:| Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1 ,820.00
Thiessen Oil CO \:l Contingent
Kerri Jones, Tarrin, Aiien, Jay l:l unliquidated
815 Snake River Ave. . .
_ Dls uted
Lewiston, in 83501 "
l :
oete(s) debt was incurred Various Basis f°"h° ° aim -
Last 4 digits or account number_ ls the claim subject to offset? l No E| Yes
3.327 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $500.00
Tim Henrich n Contingent
137 Fieldview Drive E| unliquidated
Greencastie, PA 17225 l Dispmed
Date(s) debt was incurred Various Basls for the claim: _
Last 4 digits of account number _
lsthe claim subject to offset? - No l:i Yes
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Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check allthatepply. $99.25
Timothy Charbonneau l:| contingent
279 H:nne:s::y l;c_)ra;luso |Il uniiquldated
nos l.ll’ a S
g ' _ l Disputed
Date(s) debt was incurred Various
_ _ Basis for the claim:
Last 4 digits of account number_ _
ls the claim subject to offset? l Nc El Yes
Nonpriority creditor's name and mailing address As of the petition fiiing date. the claim is: check all that apply. $300.00
Tl__R l:l Contingent
N'°°'° _ _ L`.| unliquidated
11855 NE Glenn Wlndlng Dr. - ms med
Pcrtland, on 91220 ”
oate(s) debt was lncurrcd Various Basis f°' me °'ai"" -
Last 4 digits of account number_ ls the claim subject to offset'? - No n ¥es
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $563.45
Tony Lacoste |Il contingent
700 Mil|creek Lane |] unliquidated
Leander, TX 78641 - Disputed
Date(s) debt was incurred Various
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? l Nc E| Yes
3.331 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
Totai Logistics Resource El contingent
11855 NE Glenn Winding Dr. |:| unliquidated
Portland, OR 97220 - Disputed
nate(s) debt was incurred Various
___ Basis forthe claim: _
Last 4 digits of account number _
ls the claim subject tc offset? l Nc lIl ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $6,404.00
Traveiers EI contingent
PO Box 660317 E| unliquidated
Dallas, TX 75266 - Disputed
‘ Various
Date(s) debt was incurred Basis forma claim: _
Last 4 digits of account number _
|s the claim subject to offset? - No i:.l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $395.08
Travers Tooi Co, inc El Contingent
128-15 26th Ave. El unliquldated
Flushlng, NY 1 1354 . Disputed
l d Various
Date(s) debt was ncurre __ Basis for me claim: _
Last 4 digits of account number_
ls the claim subject to offset? l No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,221.78
Travis Pattem & Foundry El contingent
1413 E. Hawthorne Rd. |:| unliquidated
Spokane, WA 99217 - Disputed
Various
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
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@ Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $219.94
Treasure Valley Coffee [| contingent
Po B°x §145 ill unliquidated
Kennewick, WA 99336 . .
' Disputed
Date(s) debt was incurred Various
Basis for the claim:
Last 4 digits of account number_ "
is the claim subject to offset? . No i:i Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $195.00
Trevor E|lico |j Coniing@ni
g393 :méige\"°°d D"§` 91701 El uniiquldated
inc 0 UCamOl\
ga’ _ l oisputed
Date(s) debt was incurred Various
Basis forthe claim: _
Last 4 digits of account number_
ls the claim subjectto offset? . No [] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply, $0.00
Twin River Contract Loading, lnc. ij coniingeni
315 P Stfefl; l:l unliquidated
ewlston, 83501 . Disputed
Date(s) debt was incurred _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No l:.i Yes
Nonpriority creditors name and mailing address As ofthe petition filing date, the claim is: check cutler apply. $1,484.80
U!ine l:i Contingent
PO Box 88741 El unliquidated
Chlcago, IL 60680-1741 - Disputed
Date(s) debt was incurred Various
__ Basis for the claim: _
Last 4 digits of account number_
la the claim subject to offset? l No 1:| Yes
Nonpriority creditor's name and mailing address As of the petition filing date. the claim is: Check all that apply. $0.00
Unis "Ginex" d.d. Gorazde E] contingent
Visegradska bb |:l unliquidated
7300li Gorazde, . - oisputed
Bosnla and Herzegovlna
Date(s) debt was incurred _ Basls for me claim: '
Last 4 digits of account number_ is the claim subject to offset? - No ij Yes
Nonpriority creditors name and mailing address As cf the petition filing date, the claim is: check all lnat apply. $1 30.00
United Too| Corporation E| contingent
3718 E Newby Street Suite 108 |'_'I unliquidated
Nampa, |D 83687 l Disputed
Date(s) debt was incurred laLiQL§_ _ _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? - No i:i Yes
Nonpriority creditor's name and mailing address As of the petition Hiing date, the claim is: Check all that apply. $97,697.98
UPS I:l Contingent
Lockbox 577 l:l unliquidated
Carol Stream, lL 60132 l Disputed
Date(s) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? l:l No - Yes
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Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $0.00
US Dept. of Treasury lI| contingent
Alcohol & Tobacco.Tax & Trade Bureau |:j Uniiquidaied
550 Main Street, Suite 8002 - D_ med
cincinnati oH 45202-5215 's"
Date(s) debt was incurred _ Basis forthe claim: _
Last 4 digits of account number_ is the claim subject to offset? - No l:\ Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $4,667.84
USF Reddaway, lnc E| contingent
§?‘401 Net|illl_l<;l;)l;;;ac§“ El unliquidated
lca o '
g ’ _ l Disputed
nate{s) debt was incurred Various
Basls for the claim:
Last 4 digits of account number_ _
ls the claim subject to offset? l:l No - Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all trial apply. $30,000.00
Va| Mundeil Ei contingent
z:‘l“?'skerec°vb)Ari;; U Uniiquidaied
ar ston, 403 - Disputed
Date(s) debt was incurred Various
Easis forthe claim: _
Last 4 digits of account number_
is the claim subject to offset? - No l:i Ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ellihal apply. $450.00
Valley Car Sa|es El contingent
JUDY HOBSON El unliquidated
1801 Main Street l
_ D' ted
Lewiston, lD 83501 ‘sp“
Date(s) debt was lncurred Various Basis for the claim: -
Last 4 digits of account number _ ls tna claim subject to offset? l Nc El Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $70.00
Valley Drug Testing E| contingent
PO Box 861 El unliquidated
Lewiston, |D 83501 - Disputed
Date(s) debt was incurred Various
Basis for the claim: __
Last 4 digits of account number _
is the claim subject to offset? - No i:i Yes
3.347 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $5,000.00
Valley Vision, lnc. El contingent
111 Main Street Suite 130 El unliquidated
Lewiston, lD 83501 - Disputed
Date(s) debt was incun'ed Mi_$_ _
Basls for the claim: __
Last 4 digits of account number _
ls the claim subject to offset? - No l:\ Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check allthal apply. $5,795.67
Vanguard Ei contingent
PO Box 28067 El unliquidated
New York, NY 10087 - Disputed
Date(s) debt was incurred w
Basis for tl'te claim: _
Last 4 digits of account number_
is the claim subject to offset? - No n ¥es
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Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all that apply. $2,925.00
Velocify EHS U Contingent
586 A_rgus Rd., Ste. 201 |J unliquidated
Ontarto, Canada L6J3J3 - .
_ Disputed
Date(s) debt was incurred Various
Basis forthe claim:
Last 4 digits of account number _ _
ls the claim subject to offset? . No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check all that apply. $469.85
Verizon Wireless El contingent
SC"B°XTGXG(_;;(;B 1 |:l unliquidated
a as, 66~0 08 ' - Disputed
Date(s) debt was incurred Val’lous
Basis for the claim: _
Last 4 digits of account number _
le the claim subject to offset? l No El yes
3.351 Nonpriority creditors name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,000.00
Victoria Johnson |'_'| Contingent
1551 M°b"e Ave. n Unliquidated
Daytona Beach, FL 3211'i - Disputed
Date(s) debt was incurred Varlous
" '__' Basis for the claim: _
Last 4 digits of account number_
ls the claim subject to offset? . No m Yes
|E Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply, $O.UD
Vista Outdoor Sales. LLC l] contingent
SDS 12-0312, PO Box 86 [] unliquidated
aneapolls, MN 55486 . l Disputed
Date(s) debt was incurred Varlo|.ls
°'__ Basls for the claim: _
Last 4 digits of account number _
|s the claim subject to offset? - No U Yes
IB__| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply $1 ,280.00
Visual Marketing |`_'| contingent
17102 Cypress Knee Drive I:l unliquidated
Cypress, TX 77429 - Disputed
oate(e) debt was incurred Various _
Basis for the claim: _
Last 4 digits of account number_
ts the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $104.63
Ward Zinn I:l contingent
1204 Carrie Lane NW jj unnquidated
Pledmont, OK 73078 - Disputed
V rious
Date(S) debt was incun'ed a Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $1,797.76
Waste Management - All |:l Contingent
Capital Sanitation l:| unliquidated
PO Box 541065 - .
Dls uted
Los Angeles, CA 90054~1065 p
Date(s) debt was incurred Various Basls f°' ""’ °'ai"" -
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
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Nonpriority creditor's name and mailing address

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As of the petition tiling date, the claim is: Check ali imtapply $3,200.00
:l:;s(t:ewa(t:er Etngtneers, lnc. |J contingent
°y 00 El unit uidated
oxford, Mi 48371 q
_ l Disputed
Date(s) debt was incurred Various
B l f th l l 2
Last 4 digits of account number_ as s or e c a m "
ls the claim subject to offset? . No cl Yes
3.357 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: check ali that apply. $U.UU
Wayne Dalton |:| Contingent
PO BOX 676576 |:] unliquidated
Dallas, TX 75267 - _
‘ Disputed
Date(s) debt was incurred Val’lOuS _
_ Basis for the claim: For Notice Purgoses On|y_
Last 4 digits of account number _
ls the claim subject to offset? - No L__l Yes
Nonpriority creditot’s name and mailing address As of the petition filing date, the claim is: Check all thatappiy. $1 ,520.65
WCP Solufions l:l Contingent
;5321(1 E- 133er E| unliquidated
po ane a ey, WA 99216 - Disputed
Date(s) debt was incuned Various
Basls forthe claim: _
Last 4 digits of account number _
is the claim subject tc offset? l Nc D Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all lhaiapply. $18,645.36
Websca|e Networks l'_'l Contingent
201 Rav_endale Drive n Unliquidated
Mountain View, CA 9404.'_5 - Disputed
Date(s) debt was incurred ¥_M _
Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? . No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thatapply. $13,400.00
Wel|s Fargo Equipment Finance El contingent
300 Tri-State lnternational |:l unliquidated
Suite 400 - _
. Dts uted
Linccinshirc. iL 60069 °
Date(s) debt was incurred Various Basis for the claim: "
Last 4 digits of account number _ ls the claim subject to offset? - No l:l Yes
3.361 Nonpriority creditor's name and mailing address kc of the petition filing date, the claim is: Check ali inatapply. $4,333.05
Wel|s Fargo Equipment Finance El contingent
Manufacturer Services Group ij uniiquidated
PO Box 7777 . .
. Dls uted
san Franciscc, cA 94120-1777 "
Date(s) debt was incurred Various Basis f°' the claim: -
Last 4 digits ct account number _ is the claim subject w offset? l Nc El Yes
Nonpriority creditor's name and mailing address iv of the petition filing date, the claim ls: Check ali lhaiappiy. $1 ,490.00
Western Analytical |:| contingent
13744 Monte Vista Ave. E| unliquidated
Chmo, CA 91710 - Disputed
Various
Date(s) debt was incurred ____ Basls for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
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Nonpriority creditot’s name and mailing address As of the petition filing date, the claim is: Checkall thatcpply. $2.08
th|iam Zlmmerman El contingent
18502 Bonney Lake Blvd. E jj unliquidated
Bonney Lake, WA 98391 - .
_ Disputed
Date(s) debt was incurred Various
_ '_'_ Basis for the claim:
Last 4 digits of account number_ _
is the claim subject to offset? . No cl Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check author apply. $15,1 16.19
Wilson Tool |nt|. I:| contingent
All Swans°n n Unliquidated
12912 Farnham Ave. l D. med
white Bear Lake, MN 55110 ‘s"
Date(s) debt was incurred Various Basls for the claim: -
Last 4 diggs of account number _ ls the claim subject to offset? - No n Yes
Nonpriority creditor's name and mailing address As ofthe petition filing date, the claim is: Check al/thal apply, $91 5.75
Womack Everett El contingent
50 Cherokee Lane |:] Unliquidated
B|ue Ridge, GA 30513 - Disputed
nate(s) debt was incurred laMs_
Basis for the claim: _
Last 4 digits of account number_
is the claim subject to offset? l No ij Yes
Nonpriority creditol“s name and mailing address As of the petition filing date, the claim is: Check all that apply. $57,227.01
Wynalda Packaging E| contingent
Accounting 616 866 1561 ij unliquidated
8221 Graphic Drive - ,
D ted
Belmont, Ml 49306 'Sp“
Date(s) debt was incurred Various Basis for the claim: _
Last 4 digits of account number ls the claim subject lo offset? l No n Yes
3.367 Nonpriority creditor's name and mailing address As of the petition tiling date, the claim is: Check all that apply. $0.00
X-Treme Bullets, lnc. I'J contingent
25 Stokes Drive |Ii unliquidated
Carson City, NV 89706 - mspuled
' d
Dme(s) debt was mc`me " Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? - No n Yes
Nonpriority creditors name and mailing address As of the petition filing date, the claim is: check all that apply. $3,494.00
XPO Logistics, |nc El contingent
27724 Network P|ace ij unliquidated
Chlcago, lL 60673-1277 - Dispmed
Various
Date(s) debt was incurred Basis for me claim: _
Last 4 digits of account number_
is the claim subject to offset? - No U Yes
Nonpriority creditot’s name and mailing address As of the petition filing date, the claim is: Check all lnal apply. $158.87
YRC Freight E| contingent
10990 Roe Avenue E\ unliquidated
Over|and Park, KS 66211 - Disputed
Various
Date(s) debt was incurred Basis for me daim: _
Last 4 digits of account number _
ls the claim subject to offset? - No l:l Yes
Ofiicial Form 206 ElF Schedule ElF: Creditors Who Have Unsecured C|aims Page 78 of 79
Best Case Bankruptcy

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case number(nk'nml 18-50615-btb

 

Narne

Nonpriority creditor's name and mailing address
ZB. N.A., DBA Zions First Nationa| Bank
One South Main Street, Suite 1400
Salt Lake City, UT 84130

Date(s) debt was incurred _
Last 4 digits of account number _

 

As of the petition filing date, the claim is: check alllhel apply. $0.00
EI contingent

El unliquidated

l Disputed

Basis for the claim: _

ls the claim subject to offset? . No n Yes

 

Nonpriority creditor's name and mailing address
Zoro Too|s |nc
Customer Service
909 Asbury Drive
Buffa|o Grove, lL 60089

Date(s) debt was incurred Various
Last 4 digits of account number _

As of the petition tiling date, the claim ls: check all that apply. $‘l ,274.44
l:l Contingent

i:l unliquidated

l Disputed

Basis for the claim: _

ls the claim subject to offset? l No EI Yes

 

Nonpriority creditor's name and mailing address
Zuer|ein Darre||
13620 246th St.
Hermosa, SD 57744

Date(s) debt was incurred Various
Last 4 digits of account number _

As ot the petition filing date, the claim is: Check all that apply. $88.00

n Contingent
|'_`i unliquidated

l Disputed
Basls for the claim: _

ls the claim subject to offset? - No l:l Yes

 

List Others to Be Notified About Unsecured C|aims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies.

assignees of claims listed above, and attorneys for unsecured creditors

lf no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. lf additional pages are needed, copy the next page.

Name and mailing address

0n which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any

Totai Amounts of the Priority and Nonpriority Unsecured C|aims

5. Add the amounts of priority and nonprlority unsecured claims.

5a. Totai claims from Fart 1
5b. Totai claims from Part 2

, , Totai of claim amounts t
sa. s 1 80,028.36
5b- + 5 7,961,888.05

 

 

 

 

 

5°`{?§'§::3'5'§;§2." se s 8,141,916.41
Oliicial Form 206 EIF Schedule ElF: Creditors Who Have Unsecured C|aims Page 79 of 79

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Best Case Bankruptcy

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7.'22!15 10.40PM

Fl|| in this lnformatlon to ldentify the case:
Debtor name _Freedorn"l'liluriitior'_i_sr LLC

United States Bankruptcy Court for lhe: Q|STRICT OF NEVADA

Case number (if known) 18-50615-btb

l Check ifthis is an
- - -_ 7 __ _ _ __ _ 7 _ amended filing

Of&cia| Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. lf more space is needed, copy and attach the additional page, number the entries consecutively.

1_ Does the debtor have any executory contracts or unexpired leases?
ij No. Check this box and tile this form with the debtors other schedulesl There is nothing else to report on this form

- Yes. Fill in all of the information below even if the contacts of leases are listed on Scheduie A/B_' Assets - Real and Personal Property
(Orncial Form 206Ala)_
2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contractor unexpired
lease

2.1. State what the contract or Service Order
lease is for and the nature of Agreement - Business
the debtors interest Voiceedge Services

State the term remaining C tB _
omcas usiness

PO Box 34744

List the contract number of any S m WA 98124
ea e,

government contract

2.2. State what the contract or Commerica| lease of
lease is for and the nature of property located at
the debtors interest 12243 Fuqua Street,
Housion Tx 17089 Fuqu? Par_k l“°\*"- '-'-C
state the term remaining 101112019 °'° M'ke '-'tf*‘-'

J.M. Little Attorney at Law, P.C.
5718 Westheimer, Suite 1840

List the contract number of any Houst°n Tx 77057

government contract

2.3_ State what the contract or Commercial Lease of
lease is for and the nature of property located at
the debtors interest 17482-8 Hwy 290
Houston, TX 77040

State the term remaining 12131{201 8

Gordon Partners
4900 Woodway Drive #1125

List the contract number of any Houston TX 77056

government contract

2.4. State what the contract or Segment sponsor on
lease is for and the nature of podcast
the debtors interest

State the term remaining 3I3112019

Ta|king Lead, LLC
306 Roya| Glen Blvd.

List the contract number of any Murfreesboro TN 37128

government contract

Oificial Form 2066 Schedule G: Executory Contracts and Unexpired Leases Page ‘l of1

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Fill in this information to identify the case:

 

Debt°’ name _F_rsL*em_M_lmi¢ien§.tLQ _1_,

United States Bankruptcy Court for ihe_' D|STRlCT OF NEVADA

Case number (if known) 1 B-SOB‘IiS-bift{i

l Check ifthis is an
amended filing

Ot°Hcia| Form 206H
Schedule H: ¥our Codebtors 1zr1s

Be as complete and accurate as possible. lf more space is needed, copy the Additional Page, numbering the entries consecutive|y. Attach the
Additionai Page to this page.

1. Dci you have any codebtors?

l:l No_ Check this box and submit this form to the court with the debtors other schedules Nothing else needs to be reported on this iorm_
- Yes

2. ln Column 1, list as codebtors all of the people or entities who are also liableer any debts listed by the debtor in the schedules of
creditors, Schedules D-G. lnclude all guarantors and co-obligors_ |n Column 2. identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed_ lf the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2_

Column 1_' Codebtor Column 2: Creditor
Name Mailing Address Narne Check all schedules
that apply:
2_1 Ammo Load 815 D Street US Dept. of Treasury - D 2_3
Wor|dwii:ier lnc. Lewiston, |D 83501 m E/F___
Ci G
2.2 Ammo Load 815 D Street ZB. N.A., DBA Zions l D 2_4
Wor|dwide, lnc. Lewiston, lD 83501 First Nationa| Bank n E/_F
E| G
2.3 Big Canyon 815 D Street ZB, N.A., DBA Zions l D 2_4
Environmenta|, Lewiston, ID 83501 First National Bank m EfF
LLC m G _"
2.4 Big Canyon 815 D Street US Dept. of Treasury l D 2_3
Environmental, Lewiston, lD 83501 m ElF
LLC n G
2.5 Clearwater 153 Southport Ave., Buitding 4 US Dept. of Treasury l D 2_3
Bu||et, lnc. Lewiston, lD 83501 m ElF
El G
Oft`icial Form 206H Schedule H: Your Codebtors Page 1 of 4

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Debtor r:LeP§E|..-nMulitjcln§/LLCj ____ __r-_¥ j j Case number rilknown} MS-_bt_b_` j

- Addiiional Page to List More codebtors
Copy this page only if more space is nt§ded:Tc)Enue numbering t§ times seunaITytr;m th:pr;riousipaige. v

 

Column 1: Codebtor Column 2_' Creditor
2.6 Clearwater 153 Southport Ave., Bui|ding 4 ZB. N.A., DBA Zions l D 2_4
Bul|et, lnc. Lewiston, |D 83501 First Nationa| Bank g E[F_
|:l G
2.7 Components Molly K ZB. N.A., DBA Zions - D 2_4
Exchange 21530 Buckskin Ln. First National Bank m E|,F_H'
Peck, lD 83545 g G _
2.8 Components 2337 3rd Ave. N US Dept. of Treasury - D 243
Exchange Lewiston, |D 83501 ij EH:
l;l G
2.9 David Howell PO Box 1903 ZB. N.A.,-DBA Zions l D 2_4
Lewiston, |D 83501 First Nattona| Bank m ElF
E] G
2_10 Howell Machine, 815 D Street U5 DePf- Of Treasury l D 2_3
lnc. Lewiston, lD 83501 n ElF
l:] G
2_11 Howell Machine, 815 D Street ZlB. N.A.,_DBA Zions l D 2.4
tnc. Lewiston, lD 83501 First National Bank m E',_F '
E\ G
2.12 Howell Munitions 815 D Street US Dept. of Treasury l D 2_3
8. Technology, Lewiston, lD 83501 |-_-l E',F
ll"lC. m G
2.13 Howell Munitions 815 o Street Z_B. N.A.,_DBA Zions l n 2_4
& Technology, Lewiston, lD 83501 First National Bank m E,._F _
lnc. l:l G
Ofticial Form 206l-l Schedule H: ¥our Codebtors Page 2 of 4

C se Bankru tc
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Debtor Freedom Munitions, LLC

-Additional Page to List More Codebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1:Codebtor

Case number (irknown}

1 8-5061 5-btb

 

Column 2: Creditor

 

 

 

 

 

 

 

 

2.14 Howell Munitions 815 D Street lntegrity Bank, SSB l D 2_1
& Technology, Lewiston, ID 83501 g E/F_'
lnc. m G __

2.15 Howell Munitions 815 D Street NMHG Financial l D 2_2
& Technology, Lewiston, lD 83501 Services, lnc. n ElF
lnc. cl G

2.16 Lewis-C|ark 815 D Street US Dept. of Treasury l D 2.3
Ammunition Lewiston, |D 83501 n E/F
Components, m G _
LLC _-

2.17 Lewis-C|ark 815 D Street ZB. N.A., DBA Zions l D 2_4
Ammunition Lewiston, |D 83501 First National Bank m E/_F '
Components, m G __
LLC __

2.18 Twin River 815 D Street US Dept. of Treasury l D 2_3
Contract Lewiston, |D 83501 m E/F
Loading, lnc. g G

2.19 Twin River 815 D Street ZB- N-A-, DBA Zions l D 2.4
Contract Lewiston, |D 83501 First Nationa| Bank n E/'F
Loading, lnc. n G

2.20 X-Treme Bu||ets, 815 D Street US Dept. of Treasury l D 2_3
lnc. Lewiston, lD 83501 g E/F

E| G

2.21 X-Treme Bu|lets, 815 D Street Z_B- N»A-._DBA Zions l D 2.4

lnc. Lewiston, lD 83501 First Natlonal Bank n E/__F
IJ G
Official Form 206H Schedule H: Your Codebtors Page 3 of 4

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Debfor Freedom Munitions, LLC

Case number {ifl¢nown) 18-50615-btb

 

Additional Page to List More Codebtors

 

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1:Codebtor

Column 2.' Creditor

 

2.22 Howell Munitions 815 D Street Fuqua Park Row, l:l D

& Technology, Lewiston, lD 83501 LLC ['_'| E/F

lnc. l G 2.2
2.23 Howell Munitions 815 D Street Gordon Fartners E| D

& Technology, Lewiston, lD 83501 |:l E/F

'"°- l G 2.3

 

Official Forrn 206H

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Schedule H: Your Codebtors

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Fill in this information to identify the case:

 

United States Bankruptcy Court for the: DlSTRlCT OF NEVADA

Case number (if known) 18-§Y1S-btb

 

l Check ifthis is an
amended filing

thcia| Form 207
Statement of Financia| Affairs for Non-|ndividuals Filing for Bankruptcy 04116

 

The debtor must answer every question. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

mtn<=eme___ ___ ___ _ _ _ __ _____ ____ ____ __ ___ _ ___

1_ Gross revenue from business

- None_
identify the beginning and ending dates of the debtors fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (belore deductions and

exclusions)
2_ Non-business revenue
lnclude revenue regardless of whether that revenue is taxable_ Non-business income may include interest, dividends, money collected from |awSUifS.
and royalties List each source and the gross revenue for each separately Do not include revenue listed in line 1_

- None_

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

Mst Certain Transfeilina§i_e_Before Filing for BB|-t“rgp_tcy__ _ _ _ n

3_ Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditorl other than regular employee compensationl within 90 days before
tiling this case unless the aggregate value of all property transferred to that creditor is less than 56,425_ (This amount may be adjusted on 4101/1 9
and every 3 years after that with respect to cases tiled on or alter the date of adjustment_)

i'_"i None_
Creditor's Name and Address Dates Tota| amount of value Reasons for payment or transfer
Check all that apply
3"' Gordnn Partners sits/2013 $10,953.00 13 secured debt
4900 Woodway Drive #1125 l:] Unsecured loan repayments
Housto“» Tx 77056 l:l Suppliers or vendors
[:| Services
m Other_
Ol"licia| Fon'n 207 Statement ot Financial Affairs for Non-|ndividuals Filing for Bankruptcy page 1

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Debtor Freedom Munitions, LLC Case number(,-,,,,,o,,,,, 18_50615_btb

 

4. P_ayments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or oosrgned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less man $6.425. (This amount
r_nay be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. lnsiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such afliliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

- None.

lnsider‘s name and address Dates Tota| amount of value Reasons for payment or transfer
' Relationship to debtor

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale. transferred by a deed in iieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

. None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtors direction from an account of the debtor because the debtor owed a
debt

l None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

Wgal Actions or Assignments

7. Legal actions, administrative prooeedings, court actions, executions, attachments or governmental audits
List the legal actions, proceedings, investigations arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved

in any capacity-within 1 year before filing this case.

 

l:l None_
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. Alcohol & Tobacco Tax & Asserted unpaid US Dept. of Treasury l pending

Trade Bureau federal excise tax Alcohol & Tobacco Tax & m On appeal
Trade Bureau n Concluded
550 Main Street, Suite 8002
Cincinnati, OH 45202-5215

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

receiver, custodian. or other court-appointed oficer within 1 year before filing this case.

- None

certain sins and charitable contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

l None

Recipient's name and address Description of the gifts or contributions Dates given Value

Part 51 Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Official Form 207 Statement of Financial Affalrs for Non-lndivlduals Filing for Bankmptcy page 2

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Debtor Freedom Munitions, LLC Case number iii/mown) 18-50615-htb
- None
Description of the property lost and Amount of payments received for the loss Dates of loss V l f
how the loss occurred a ue o pmpf:sz

lf you have received payments to cover the loss, for
example, from insurance, government compensation or
tort liability, list the total received

List unpaid claims on Official Form 106AIB (Schedqu
A/B: Assets - Real and Personaf Froperfy).

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attomeys, that the debtor consulted about debt consolidation or restructuringl seeking bankruptcy
relief, or filing a bankruptcy case.

l None.
Who was paid or who received lf not money, describe any property transferred Dates Total amount or
the transfer? value
Address

12, Se|f-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement

l None_

Narne of trust or device Describe any property transferred Dates transfers Totai amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sa|e, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the tiling of this ease to another person, other than property transferred in the ordinary course of business or inancial affairs. include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement

l None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

L_.l Does not apply

Address Dates of occupancy
From-To

14-1~ 17482 B Hwy
Houston, TX 77040

14~2- 11243 Fuqua Street
Houston, TX 77089

Hea|th Care Bankruptcies

15. Hea|th Care bankruptcies
ls the debtor primarily engaged in offering services and facilities for.
- diagnosing or treating injury, defcrrnity, or disease, or
- providing any surgil¢l, psychiatric, dn.ig treatment or obstetric care?

Official Form 207 Statement of anancial Affairs for Non-lndivlduals Filing for Bankruptcy page 3

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Debt°r Freed°m Munitions, LLC Case number (i/known) 18_5061 s_btb

 

l No. Go to Part 9.
l:] Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services lf debtor provides meals
the debtor provides and housing, number of
patients in debtor's care

Parsonaiiy identifiable information

16. Does the debtor collect and retain personally identifiable information of customers?

I:l No.
. ¥es. State the nature of the information collected and retained.

Customer names; addresses; emai|; phone numbers; account
numbers

 

Does the debtor have a privacy policy about that information?
l:i No

l Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERlSA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l:\ No. Go to Part10.
l Yes. Does the debtor serve as plan administrator’?

l:| No Go to Part10.
- Yes. Fill in below:

 

 

Narne of plan Employer identification number of the plan
Howell Munitions & Technology, lnc. 401k Plan ElN: XX-XXXXXXX

Has the plan been terminated?

l No

l:l Yes

Certain Financial Accounts, Safe Deposit Boxes, and Storage Uniis

18. Closed financial accounts
lMthin 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benetit, closed. sold,
moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions. brokerage houses,
cooperatives, associations and other financial institutions

- None
Financial institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities oash, or other valuables the debtor now has or did have within 1 year before filing this
case.

 

EI None

Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?
Address

Zions First Nationa| Bank Brain McBee; Rudy Cash box with Loomis - No

107 S. Main Street Zaruba n Yes
Moscow, lD 83843-2805
Of&cial Form 207 Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy page 4

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Debtor Freedom Munitions, LLC Case number iiiimown) 18-50615-btb

 

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business

l:l None

Facility name and address Names of anyone with Description of the contents Do you still
access to it have it?

11243 Fuqua Street Rudy Zaruba; Brian lnventory l N°

Houston, TX 77089 McBee g Yes

 

Property the Debtor Ho|ds or Contro|s That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for. or held in trust Do
not list leased or rented property.

l None

Detai|s About Environment |nfonnation

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination or hazardous material. regardless of the
medium affected (air. land, water. or any other medium).

Sife means any lowtion, facility, or property, including disposal sites. that the debtor now owns, operates, or utilizes or that the debtor fonneiiy
owned, operated. or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental |aw? lnclude settlements and orders.

l:l No.
l ¥es. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address
Administrative Agreement Environmental Protection Re|easing hazardous waste ij Pending
11-0181-00A, et al. Agency water without a permit |:] On appear
1 200 Pennsy|vania Ave. - Concluded
NW

Washington, DC 20460

 

23. Has any governmental unit othenivise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

- No.

|:l Yes. Provide details below.

Site name and address Govemmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notihed any governmental unit of any release of hazardous material?

- No.
El Ves.Provide details below.

Official Form 207 Statement of Financial Affalrs for Non-|ndividuals Filing for Bankruptcy page 5
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Deblor Freedom Munitions, LLC Case number (,-;k,,ow,,) 18_50515_|)",

 

Site name and address Govemmental unit name and Environmental law, if known Date of notice
address

Details About the Debtor’s Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner. partner, member, or otherwise a person in control within 6 years before filing this case.
lnclude this information even ifa|ready listed in the Schedules.

- None

Business name address Describe the nature of the business Employer identification number
Do not include Social Security number or lTlN.

Dates business existed

26. Books, records, and financial statements
263. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this wse.

 

 

\:l None
Narne and address Date of service
From~To

26a.1. Angela Smith 2129/15 to 5l25118
815 D street 6/25/18 to present
Lewiston, lD 83501

263.2. Kathie Marion 12lSI14 to present
815 D Street
Lewiston, lD 83501

263.3. Shaun Barclay 2lZlJ14 to present
815 D Street
Lewiston, |D 83501

 

26b. List all firms or individuals who have audited, compiled. or reviewed debtor's books of account and records or prepared a tinancial statement
within 2 years before filing this wse.

l:l None
Name and address Date of service
From-To
26b.1. Moss Adams 2015 to 2018
601 Riverside Ave., Suite 1800
Spokane, WA 99201

 

266. List all firms or individuals who were in possession of the debtor's books of account and records when this ease is tiled.

l None

Narne and address |f any books of account and records are
unavailable, explain why

26d. List all financial institutions creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

El None

Name and address

26d.1. Globa| Commercial Credit
Mark Matleney
30200 Telegraph Road, Suite 450
Bingham Farms, M| 48025

Oflicial Form 207 Statement of Financial Atfatrs for Non-lndivlduals Fiting for Banknrptcy page 6

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Case 18-50615-btb Doc 28

Debtor Freedom Munitions, LLC

 

Name and address
26d.2. Global Commercial Credit
Victor Sandy

26d.3.

30200 Te|egraph Road, Suite 450
BLngham Farrnsl M| 48025

Zions First Nationa| Bank

Mark Siegel

One South Main Street, Suite 300
Salt Lake City, UT 84111

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26d.4.

26d.5.

26d.6.

26d.7.

27. lnventories

Cascadia Capital LLC
1000 2nd Ave., Suite 1200
Seatt|e, WA 98104

Advanced CFO
13601 W McMi||an Rd
#102

Boise, lD 83713

|ntegrity Bank, SSB
4040 Washington Ave.
Houston, TX 77007-5606

Complete Capital Services, lnc.
P.O. Box 790448
Saint Louis, MO 63179

Have any inventories of the debtor's property been taken within 2 years before filing this case?

- No
l:l Yes. Give the details about the two most recent inventories

Name of the person who supervised the taking of the
inventory

Date of inventory

The dollar amount and basis (cost, market,

or other basis) of each inventory

28. List the debtor's ofticers, directors, managing members, general partners, members in control, controlling shareholders, or other people

in control of the debtor at the time of the filing of this case.

Narne

Howell Munitions &
Technology, lnc.

Address

815 D Street

Lewiston, ID 83501

position and nature of any
interest
Owner

% of interest, if
any

100 % of
membership
interests

29. Within 1 year before the filing of this case, did the debtor have ofi'rcers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

 

Cl No

- Yes. ldentify below.
Narne Address Position and nature of any period during which

interest position or interest
was held
Howell Munitions & 815 D Street Managing member
Technology, lnc. Lewiston, |D 83501
Statement of Financial Affalrs for Non¢lndivlduals Filing for Bankruptcy page 7

Official Form 207

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Deblor Freedom Munitions, LLC Case number rifknown) 18-50615-btb
Name - Address Position and nature of any Period during which
interest position or interest
~ was held
Advanced CFD 13601 W McMi||an Rd CRO
#102

Boise, lD 83713

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws. bonuses,
loans, credits on |oans, stock redemptions, and options exercised?

. No _
l:l Yes. ldentify below.

Narne and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

El No
l Yes. identify below_

Narne of the parent corporation Employer |dentification number of the parent
corporation
Howell Munitions & Technology, lnc.; parent corporation ElN: 45_4050425

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

l:l No
l Yes. ldentify below.

Name of the pension fund Employer ldentification number of the parent
corporation
Howell Munitions & Technology, lnc. 401k plan ElN: 46_4050425

 

wigmore and Declaration

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statemenf. concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 u.s.c.§§152,1341,1519,and 3571_

l have examined the information in this Statement of FinancialAfr'airs and any attachments and have a reasonable belief that the information is true
and correct

-l declare under penalty of perjury that the foregoing is tr'ue and correct.

Exeot.ltad on

   
 

.l. Michael leaa 1 " - f
Slgnatu indl ual signing on behalf of the debtor Prtnled name

 

Position or relationship to debtor Proposed Chief RechturingOcher

Are additiona|'pages` to Statement of Financial Affalrs for Non-lndr'viduals Filing for Bankruptcy (Official Form 207) attached?
l No
l'_`| Yes

Official Form 207 Statement of Financial Affalrs for Non-lndividuals Filing for Bankruptcy page 8

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United States Bankruptcy Court
District of Nevada

lnre Freedom Munitions, LLC Case No. 18-50815-btb
Debtor(s) Chapter 11

VER[FICATION OF CREDITOR MATRIX - AMENDED

I, the Proposed Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge

  

o ose'd’ChiEf`Restructunng Offlcer

 

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Freedom Munitions, LLC
815 D Street
Lewiston, ID 83501

Winthrop Couchot Golubow Hollander, LLP
Attn: Robert E. Opcra

1301 Dove Street, Suite 500

Newport Beach, CA 92660

Office of the United States Trustee
C. Cliiion Young Federal Building
300 Booth Street

Room 3009

Reno, NV 89509

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823 D Street, LLC
823 D Street
Lewiston, ID 83501-0000

Advanced CFO
13601 W McMillan Rd, #102
Boise, ID 83713-0000

American Security Brass & Reloading
PO Box 9169
Greerton, Tauranga New Zealand

Ammo Direct
P.O. Box 9 1 69
Greerton, Tauranga New Zealand

Ammo Load Worldwide, lnc.
815 D Street
Lewiston, ID 83501-0000

Art Salas
10629 Pisces Pl
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Asotin County Landfill
2901 Sixth Avenue
Clarkston, WA 99403-0000

Avista Utilities
1411 E Mission Ave
Spokane, WA 99252-0000

Big Canyon Environmental, LLC
815 D Street
Lewiston, ID 83501-0000

Brian McVickers
3035 N Tarra Ave., Suite 1
Prescott, AZ 86301

Califomia Dept. of Tax and Fee Admin., Special
Operations Bktcy Team, MIC:74

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Chris J ames
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320 Shen Elk Plaza
E]kton, VA 22827

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153 Southport Ave., Building 4
Lewiston, ID 83501-0000

Complete Capital Services, lnc.
22811 Greater Mack Ave., Ste. 203
Saint Clair Shores, MI 48080-0000

Components Exchange, LLC
815 D Street
Lewiston, ID 83501-0000

Corporation Service Company, as Rep, Attn: Legal
Dept.

PO Box 2576
Springfleld, IL 62708-0000

Dan Hellickson
1662 Ashley Drive
Clarkston, WA 99403-0000

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Hahira, GA 31632

Gregory A Tappan
PO Box 755
Stayton, OR 97383

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Howell Munitions & Technology, lnc.
815 D Street
Lewiston, ID 83501-0000

Jeff Carson
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Tacoma, WA 98402

Jeremy Ttag
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Jordan Morkved
502 S Davis St.
Walton, IN 46994

Kenneth B Reed
One Hancock Dr.
Lompoc, CA 93436

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Lax Firing Range
234 S. Hindry Ave.
Inglewood, CA 90301-0000

Lee Biegert
1371 CR 317
Lavemia, TX 78121

Lee Bolduc
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Mesa, AZ 85215

Lewis-Clark Ammunition Components, LLC '
815 D Street
Lewiston, ID 83501-0000

Luis Chirino
661 Brea Canyon Road Unit 7
Walnut, CA 91789

Miarni Police Depot, Inc.
2640 W. 84th St.
Hialeah, FL 33016-0000

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Mike Plouffe
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Nicole Lauren Brown
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Henderson, NV 89074

Nuvodia, LLC
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Spokane, WA 99204-0000

NV Energy
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Reno, NV 89520-0000

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Parallel Group
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Hamel, M`N 55340-0000

Perfection Tire of Lewisth
533 Thain Road
Lewiston, ID 83501-0000

Phillip A Swiderski Sr
15971 Smokey Hollow Road
Traverse City, MI 49686-0000

Precision One Ammo
2071 Wambaw Creek Road
Charleston, SC 29492-0000

STI Brasil (Tactical Gear Imports), AV. Professor
Mario Wemeck

2275 Bairro Buritis
Belo Horizonte, Minal Gerais Brazil

Team Wilson Combat
2452 CR 719
Berryvil]e, AR 72616-0000

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Tony Lacoste
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Twin River Contract Loading, lnc.
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Lewiston, lD 83501-0000

Unis "Ginex" d.d. Gorazde
Visegradska bb
73000 Gorazde,, Bosnia and Herzegovina

United Tool Corporation
3718 E Newby Street Suite 108
Nampa, ID 83687-0000

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ZB. N.A., DBA Zions First National Bank
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Salt Lake City, UT 84130-0000

